EXHIBIT A
Dear Judge Blakey,

My name is Evan Adams, and I live i n _ , Illinois, with my wife and three kids. I'm a
University of Illinois graduate and spent over a decade trading before moving into real estate
management. I've known Mike since I was five years old. Our families first met in the 1980s in
Fontana, Wisconsin, where we shared summers in the same condo complex. Those summers
were full of sunshine, swimming, exploring, and evening barbecues with the Madigan family.
My mom met Mike's wife, Shirley, at the pool while my sisters and I were playing with the
Madigan kids. It was the moms who brought our families together, and through them, a lifelong
friendship was born.

My father was born in Greece and grew up with very little-like so many who immigrated to the
United States in search of something better. Despite coming from different worlds, he and Mike
became fast friends, often spending their days golfing together. One of the ways my dad
expressed love was through food-especially grilling. lfhe cared about you, he'd grill you a
lamb chop to perfection. Many of our summer nights were spent around a patio table with both
of our families, sharing meals and stories, laughing and connecting over life's joys and
challenges.

Even as a child, I remember being struck by Mike's calm demeanor. He was one of the most
patient people I'd ever seen. If one of his kids had a meltdown, Mike wouldn't raise his
voice-he' d take a quiet walk with them, talking gently, trying to understand what they were
feeling. I'll admit-. I was once that kid. I don't remember what I was upset about, but I'll never
forget how Mike talked to me. In that moment, and throughout our decades together, he has
never been a "politician" to me. He has always been my, "Wisconsin neighbor," someone who
felt like part of the family.

As I grew older and started working, I saw another side of Mike. He listened intently to
everything I shared about my life and career, always asking thoughtful questions. He had a
remarkable ability to remember details from past conversations, making me fee l like what I said
truly mattered.

While my experiences with Mike are uniquely my own, I want you to know-deep in my
heart- I believe in him. As a person, a friend, and a mentor, Mike has quietly shaped my life in
ways he probably doesn't even realize. And over the past decade, that truth has only become
clearer.

I'd like to share two stories that illustrate just how much Mike has meant to me and my family.

My dad was the heart of our family. He passed away unexpectedly in 2015 while on vacation in
Greece with my mom. Within hours of hearing the news, my wife and I were on our way to the
airport, scrambling so I could catch the last flight out that day. In those chaotic, painful moments,
I only asked my wife to call one person- Mike. I didn't ask her to contact any other family
member or friend. It was instinctive. Mike held such a special place in my dad's heart- and in
mine-that he was the only one I felt needed to know right away.
My wife told me that when she called, Mike and Shirley broke down in tears. After a few
moments of stunned silence, Mike asked, "Where is he in Greece? I'll fly out tomorrow morning
to be with Evan and his morn. Shirley and I will go." That response stayed with me. Most people
offer condolences. Most say, "Let us know if you need anything." Mike meant it. Without
hesitation, he was ready to get on a plane halfway across the world just to be there for us. And I
know-if I had said yes-he would've been there. Mike was at the funeral long before anyone
else, waiting for our family to arrive. He was the first to wrap us in support, and the kind of
steady, loving presence that holds you up when your world feels like it's falling apart. His actions
spoke louder than words ever could. And they reflected the same kind of trust, generosity, and
love that my dad valued so deeply in him. I will never forget it.

In the months after someone dies, the calls slow down, and that's what our family experienced.
Mike is the one person who has consistently called to see how I was doing in the days that
followed. He knew that I had my career but was also responsible for taking over my father's
business. Mike called off and on for months to see how I was doing, to ask how the family was.
I've never shared this with Mike but having him call and check up on me was the closest thing to
having a father-figure back in my life. Mike has always been ready to share a good story about
my dad, say something the way he would have in a Greek accent, and offer his love and support
for my family.

In 2023, I had a "widow maker" heart attack with a 12% chance of survival. It was, without
question, the most terrifying moment of my life-and for my family, too. In moments like that,
everything sharpens. You're forced to pause and reflect on what, and who, really matters. As I
began to recover, I was overwhelmed by the people who reached out and one voice I kept
hearing was Mike's. He called again and again to check in, to make sure I had a good doctor, to
ask how I was doing, to tell me he was praying for me.

Once again, I was reminded: Mike was there. Quietly, consistently, genuinely-part of the
incredible support system that has carried me through some of life's most difficult chapters.

Life has taken our families in many different directions over the years, but the love and respect
we share has remained constant. When our families have been together in Wisconsin, I've gotten
to see Mike in his other role: as "Burnpa" to his grandkids. And it's no surprise-he's the same
deeply present, thoughtful listener with them that he was with his own children. Watching him
with the next generation is a beautiful reminder of who he's always been.

Even during these past few years-when Mike has faced his own challenges-he's still found
time to reach out. To check in. To show up. And for all the reasons I've shared-and so many
more-I'll be forever grateful to him.

As you determine Mike's sentence, I humbly ask that you consider the full picture of his
life-who he is at his core, the quiet strength he has shown time and again, and the profound
impact he's had on those fortunate enough to know him. His legacy is one of compassion and
unwavering presence. And to me-and to my family-he has been nothing short of exceptional.
Sincerely,



Evan Adams
                                   THEA K. FLAUM


Honorable John Robert Blakey

219 South Dearborn Street

Chicago, ll 60604

Dear Judge Blakey,

In 1976, Michael and Shirley Madigan were married in our living room. We then had a
small celebratory lunch (13 people) around our dining room table.

Joel Flaum, to whom I was then married, and I had known Shirley for many years. She
and her small daughter, Lisa, had become part of our family.

In the nearly 50 years since, I have had many opportunities to get to know Mike-and to
discover the fine person that he is. Mike is quiet, thoughtful, a born observer, and no
good at small talk.

Mike is a loving husband to Shirley and an intensely caring father to Lisa and to Tiffany,
Nicole and Andrew. As "Aunt Thea" to the Madigan children, I can attest to how much
Mike is involved in their lives.

As a teenager, Lisa's admiration for Mike and his commitment to government prompted
her to focus on history and civics in high school. Mike called me when Lisa applied for a
post-college program to work in apartheid South Africa to teach math and English to
young Zulu girls at a remote rural school. He was worried about her safety and was
concerned that she would be lonely. But he understood and appreciated that her
determination to go to Africa was a reflection of what she had learned from him.
Essentially, he had taught her to care. She went with his blessing.

Over the years, Mike would often call and ask me to "talk" to one of the children. (The
kids almost always suspected that he had prompted me to call.) It often turned out that
the person I really needed to talk to was Mike. His children were growing up in ways
that were so different from his own experience that it was hard for him to understand.
But to Mike, understanding them was always worth the struggle.
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   Sincerely.

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   Thea K. FDaum




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                  Letter in Support of Michael J. Madigan
                               Lisa Madigan



On August 20, 1976, shortly after I turned 10, my mother married
Mike Madigan. The ceremony took place in Joel and Thea Flaum’s
living room with Judge Flaum presiding. From the time I was
born, Joel and Thea Flaum were my mother’s closest friends and
Uncle Joel and Aunt Thea to me. They were there for us everyday
of my tumultuous childhood and always remained our family. 


Everyone agreed that Our Family improved dramatically that day. 


Not only had my mother married a man who truly loved her, she
had also married a man who took on total responsibility for
serving as my father. While I initially called him Mike, I soon
recognized he was my father and I referred to him as such.


Mike embraced me as if I was his biological daughter.


At the time, I did not fully appreciate the role of a state
representative, but I immediately recognized Mike’s picture in
the copy of the State of Illinois Handbook my fifth grade
history teacher handed out to me. After I saw it, I went up to
Miss Elmer’s desk and told her that Michael Madigan was my
father. She told me that was not true, and I told her my mom had
married him over the summer. She still doubted me. That night, I
repeated the story to my mom and Mike, and not long afterwards,
he came to speak to our class and explained government to us and
what a state representative did.


At the end of that school year, I started to learn a lot more
about state government. Instead of going to summer camp like
many kids, Mike took me to the capitol in Springfield where I
worked everyday until the end of the legislative session. That’s
what I did every year after I got out of school in the spring
until I graduated from high school.


Serving as an honorary page was my first “job.” It essentially
involved running errands for members of the House of
Representatives. I got them coffee, lunch, and copies of bills
(this was long before they had computers). Sitting in the House
chamber during session allowed me to have an up close view of
the personalities, work, and ethics of many legislators,
legislative staff, members of the press, and statewide elected
officials.  

                  Letter in Support of Michael J. Madigan
                               Lisa Madigan
Almost every night, we had dinner with Representative Zeke
Georgi, and I listened to him and Mike discuss the day’s issues.
What I saw and learned was inspiring and unique. While I
encountered plenty of lazy, drunk, and ethically questionable
people serving in and around the legislature, the qualities I
witnessed in these two were different. They took their positions
seriously. They were hard working, helpful, ethical, and
engaging.


Mike is the personification of “workhorse.”


Mike regularly worked 12 hour days. When he was preparing for or
in session in Springfield, he was the first elected official to
arrive at the capitol, before or by 7 am, and usually the last
to leave at night, around 7 pm. After the regular legislative
session ended in the spring or early summer, my father would go
to work at one of his other two offices. He worked at his ward
office or his law office roughly the same hours as he did in his
Springfield office. Plus, he worked on the weekends. The only
events that changed his Saturday schedule were watching the
Notre Dame football game (even when the team was having a bad
year), taking his kids or grandkids to a baseball game, the zoo,
or attending a family birthday party. Waking up early and
working seven days a week is one of Mike’s defining
characteristics and a main reason for his decades of political
and professional success. I do not think I’ve ever met a person
who is more disciplined and works harder than he does. Certainly
not under the dome in Springfield, Illinois.


Mike is meticulously ethical and honest and shunned many of the
perks of elected office.


I can recall many times when Mike declined to accept or use
everything from gifts to gratuities.


For example, legislators used to get a card that allowed them
and their families free entrance to the Brookfield zoo. When we
went there, however, Mike never used a free pass. Instead he
paid for our admission. I recall asking him why once, and he
told me that if you can afford to pay for something, it is
appropriate for you to pay just like everyone else.


In another example, Mike never wanted to purchase or use his
legislative license plates. For Illinois House members the
number on the official plate you could buy reflected your
seniority in the chamber. So for many years, he could have had a
                  Letter in Support of Michael J. Madigan
                               Lisa Madigan
“1” on his license plate, but that was never of interest to him,
and he did not.


For a less formal example, from time to time we would be out to
eat and at the end of the meal, the waiter would not bring a
check and instead tell us the meal was on the house. Mike would
never abide by that. He would politely but firmly tell the
waiter, manager, or owner to give him the check so he could pay
for the meal or he would not return to the restaurant.


Based on those examples, it should not be surprising that
decades ago, long before Illinois enacted a gift ban, Mike
adopted a policy of not accepting gifts from any registered
lobbyists in order to avoid even the appearance of impropriety.
If someone tried to deliver a gift to his home or any of his
offices, the delivery person was told to take it back.


Mike is also someone whose word you could trust. He is truthful.
Sometimes I liked what he said and other times not, but I knew
he was being honest and would keep his word. That was not always
the case with people in and around the legislature.


Mike was always concerned about keeping a clear line between his
official government duties and his private law practice. One way
Mike worked to ensure that there could be no questions about
ethics or conflicts of interest was to put in place strong
conflict of interest procedures in both the speaker’s office and
his law office. His offices coordinated to avoid questions about
conflicts arising on legislation and business matters.


To the extent there were ever questions about the legality or
ethics of any practice, he sought the advice of his counsel and
outside lawyers before proceeding.


These are not traits of a rulebreaker. Mike was cautious and
aware of the law and where the legal lines were. Mike would
never knowingly do anything illegal.


Mike always helped people however he could. 


If you serve in public office, people are always asking you for
help. Everyday. They come to your office, stop you at the store,
on the street, in church, restaurants, parking lots, and run up
or shout to you at parades. Most of the time, they are asking
for your help to get them a job. Once I was walking out of a
dressing room in the lingerie department at Macy’s and a woman
                  Letter in Support of Michael J. Madigan
                               Lisa Madigan
who had seen me walk in thrust her resume into my hands and
asked me to help her get a job. If you’re a public official, in
any branch of government, it’s expected that you will recommend
people you know for job opportunities and it’s unavoidable that
people you don’t know will ask for your assistance as well. I
certainly received plenty of requests and recommendations from
judges to hire their clerks for positions in the Illinois
Attorney General’s office. Job referrals are endemic in the
public (and also private) sector. In fact, I still receive
requests from people seeking my help to secure jobs in
government. If you don’t want to assist people, including
helping them find job opportunities, then government service is
not for you. My father always helped people however he could.
That truly is the essence of public service. 


Mike takes his role as father and grandfather seriously.


In spite of his 70+ hour work weeks, Mike always made time for
family. After he had been away in Springfield all week, he would
take me out for pizza when he got home on Friday nights. He did
the same with my sisters and brother as they grew up. 


With all of us, his primary focus was making sure we knew he
loved us. He was just as concerned that we grew up to be honest,
responsible, and well educated people. 


For example, when I was in high school, I often drove to school
and usually had trouble finding parking nearby. When I found a
spot, I would park, feed the meter, and walk several blocks to
school. I didn’t go back to the car until seven to twelve hours
later once school and after-school sports events were done. By
the time I returned the meter had always expired and sometimes
the car had been ticketed. I’d remove the ticket from the
windshield, stuff it under the floor mat on the passenger’s
side, and drive home. I never told my parents about the tickets
piling up, nor did I attempt to pay them. One day my poor
parking ticket management and questionable teenage judgment
caught up with me. I don’t recall exactly how Mike found out
about the dozen plus parking tickets I had accumulated on his
car, but I do recall he was angry with me and made me pay for
them. I spent most of the money I had earned the previous summer
paying the fines.


In a city where people used to talk about having parking tickets
“fixed,” I learned from Mike that I was expected to follow the
law - either feed the parking meter or pay the parking tickets.
                    Letter in Support of Michael J. Madigan
                                 Lisa Madigan
He has always been a scrupulous rule follower and expected the
same of his children. 


With my sisters and brother, when he was away in Springfield, he
would get their spelling lists and call home every night to
drill them. 


Here is the advice he gave all of us when we went to college:


1.   College is a great opportunity

2.   Take advantage of it

3.   Focus, don’t waste time

4.   Look ahead, so prepare now

5.   Exercise


We still get together for weekly dinners unless a Notre Dame
football game interferes.


Mike keeps my mother alive.


My mother and Mike were both born in 1942. They both turn 83
this year. 


Since the beginning of the COVID pandemic, five years ago, my
mother has rarely been well enough to leave their house other
than to go to see her doctors because she is extremely
susceptible to infections due to a severe lung disease. Since
then she has been admitted to the hospital three times. For this
reason, she only attended the trial the first day for opening
statements because it is very difficult for her to breathe and
her doctors do not want her around people who she may catch a
cold from.  


She is able to remain in their house primarily because of the
care my father provides. He shops for groceries, brings her food
(as you heard during the trial), does laundry, and generally
takes care of her and their house.


Michael Madigan is among the finest people to ever serve in
government.


Mike has been my father for nearly 50 years. Few people know
Mike Madigan the way I do. I grew up with him and worked
adjacent to him in government. I know the real Mike Madigan, not
the grossly distorted picture the media, his political enemies,
and prosecutors have painted and promoted of him over the years.

                  Letter in Support of Michael J. Madigan
                               Lisa Madigan

I have known many elected officials over the years. Without a
doubt Mike is among the finest that has ever served Illinois. I
say with complete certainty that we need more people in public
service with his values.


As I have said publicly before and am still very proud to say
now, I did much better with fathers the second time around. I
learned life’s most important lessons from Mike, and I have
spent my life living them and repeating them to the next
generation of women, lawyers, and leaders in Illinois and across
our country:


Get as much education as possible.

Be prepared to work hard.

Help others whenever you can. 

Be honest and scrupulously ethical. 


Mike Madigan always has done all of those things for the entire
time I have known him.


I know Mike Madigan would never intentionally commit a crime. He
is the consummate rule follower. Punishing him for trying to
help people - something we are all taught to do - is the true
injustice.
Honorable Justice Blakey
Northern District Federal Court
219 South Dearbor Street
Chicago, IL 60604

Dear Justice Blakey,


My name is Tiffany Madigan. I have been absolutely blessed to have
Michael Madigan as my father and I can speak unreservedly about the
quality of his character during the more than four decades I have
known him.

I have been a parent for 14 years and each year I have gained a greater
appreciation for what an extraordinary father I have. There has never
been a single time I have questioned whether he would be there for me
or whether he loved me. He has never burdened me. He embraced
parts of me that others ridiculed. He has always supported me and
allowed me to be myself - and I have rarely made that easy. I think
he’s just an incredibly good person, but underlying it all is a consistent
moral code.

To understand the importance of values in our family, you have to
understand the role of politics in the lives of politicians ’families. I
have never lived in a world where my father was not a political figure
and I learned at a very young age that my family was under increased
scrutiny at all times due to my father’s political role. My earliest years
are sprinkled with memories of protests outside our home, people who
took my toys from our backyard claiming they were theirs because
they paid taxes for my father’s salary, people trying to take my clothes
off my body with the same logic, people blocking our stairs out of
spite, people telling me and my family we didn’t belong, as well as
waves of political and press attacks - there is an enormous amount of
anger at society that gets directed at politicians and their families. It
can be difficult to not lash back in anger in response. But I never saw
either my father or mother react that way.
While I cannot say that I exemplified that same restraint, I did learn at
a very young age that my actions reflected on my family. If I was a
brat in a restaurant, stole a pack of gum, or even was reasonably angry
- if I behaved in a way that angered others - it could have a seriously
negative impact on my entire family. It’s surprisingly tricky to avoid
making people angry.

To help us understand how to navigate this kind of a life, we spoke
(and speak) frequently about the obligations members of society have
to each other - values, morality, right and wrong, fairness and the lack
thereof, respect, empathy and humanity. The core of the ethos is
honesty and kindness. You have to be honest and approach others with
kindness and if you hold to those core values, you can make your way
through the world. We didn’t have the luxury of being casual or
inconsistent about how we approached these things and that standard
was applied to our relationships as well.

Once when I was maybe 5 my parents were going out for the night.
They wanted me to nap but I wanted to say goodbye to them before
they left so I only agreed to nap if they promised to wake me up to say
goodbye before they left. They, as rational parents, did not wake me
from my much-needed nap when they left. When I woke, I was
inconsolable. And although my father didn’t understand my response,
he promised me he would never tell me he would do something and
not do it again. And he never has.

Once when I was around 8, I was at Santucci’s restaurant, which used
to be across the street from Midway Airport. I was talking but could
tell my father wasn’t listening. So I said, dad, a plane just crashed
through the roof, and he said, uh huh. And my younger sister and I
started laughing hysterically and he looked up and I told him I had
proof that he wasn’t listening. He laughed and admitted that he hadn’t
been. And he started paying attention more consistently. There weren’t
a lot of fathers in the 80s who took well to their children calling them
out and even fewer who were willing to change their behavior as a
result.
I first started receiving letter grades in sixth grade and my father sat
down to review my first report card the same way he reviewed bills,
with a red felt pen to mark up points. What he approached as an
involved parent who wanted to help his daughter succeed, I, a
headstrong adolescent, experienced as an aggressive personal attack. I
told him, I’m sure in different words, that I couldn’t handle the stress
of reviewing grades with him and I never wanted to do it again. He
promised me he would never make me do it again and despite going
through a review of all grades with all my other siblings, he never
reviewed my grades with me again. And I knew he wouldn’t. When he
told me he wouldn’t do something, I knew he wouldn’t.

When I was in college my father used to send me letters with clipped
news articles he thought might be interesting. The letters were typed
but the signature of "Dad" was done by hand. A couple of times I
noticed that someone else had signed, "Dad", it just wasn’t his
handwriting - and to whoever did that I completely understand, my
father was an incredibly busy person and it was a practical and
reasonable solution. But I called him out on it, teasing him that he
should have enough time to sign "Dad" to his daughter. I still get those
letters. And they’ve never been signed by anyone other than him since
I discussed that with him.

Another aspect of political existence that I knew well from a young
age were the rules around conflicts of interest - those rules often apply
to family members of politicians so I needed to know them to avoid
inadvertently breaking them. I knew all about them and how they
applied to our family in the early 90s when I was in an elevator
running an errand and two other people in the elevator, not knowing
who I was, were gossiping and making suppositions about my family -
I knew they were wrong and I knew it because of how careful and
diligent my father was about monitoring and addressing conflicts. I
remember my father explaining his philosophy that because he was
under such intense scrutiny, it wasn’t enough to simply follow the
rules. He took a more conservative approach and explained to me that
he needed to avoid the "appearance of impropriety". He regularly
explained it in detail, along with examples of where things would
cross a line. I remember arguing with him about the concept in our
living room, where he would frequently sit on a couch to read or
review documents. I insisted that in a just society rules should stand
on their own, the "appearance" of something shouldn’t constitute
malfeasance because it was imprecise, subjective, and didn’t give
people adequate notice of the law. He, as always, kindly, patiently,
and with a smile, explained that this is simply how the world works.
And that in our family, we were obligated to not only follow the law
but also ensure that our behavior didn’t give anyone any doubt that we
followed the law. There was a higher standard applied to our actions.

I have two children and my father is an important figure in their lives.
They look up to him, respect him, tease him, and love him. He
regularly picks them up from school, takes them out to dinner, keeps
up on their studies and activities, helps them with schoolwork and
navigating social issues. He teaches them about life from that same
solid moral compass that he used to guide my three siblings and I
many years ago. He isn’t rigid, he’s open to developing and growing,
and has consistently done so when presented with evidence that he
should.

My father is an incredible man. He is driven by love and a sense of
duty, both to people and our social order. He worked hard his entire
life to provide for his family, mentor future leaders, improve lives for
as many individuals, families, and communities as he could, and to be
a voice of reason and a steadying hand in the often volatile and
narcissistic world of politics. He has met countless leaders across the
country and world and has never valued any of those people or
experiences more than dinner with his family. He is a kind, decent and
loving man. I respectfully ask that you consider his incredible
character and consistent history in making your decisions.

Sincerely,

Tiffany Madigan
                             Letter in Support of Michael Madigan

I am Nicole Madigan, Shirley and Michael Madigan’s youngest daughter. I grew up in the same
working-class neighborhood on Chicago’s Southwest Side that my dad grew up in. My dad and
my mom still live in the same house that they bought after marrying nearly 49 years ago, raising
four children and four grandchildren. Like my dad, I am a lifelong resident of Chicago. He worked
for the City Department of Streets and Sanitation hauling trash to pay his way through school. His
parents did not graduate from high school, but he worked hard at Notre Dame and Loyola Law
School despite his own father’s doubts that he was smart enough to graduate. Dad became an
attorney with a private practice of real estate tax appeals and served as Speaker of the House of
Representatives of Illinois for nearly 50 years.

He went from working on a garbage truck to being the longest serving Speaker of a State House
in United States history. He achieved that through diligence and adherence to his ethical and moral
code. He worked hard, every day, weekends, and even holidays if necessary. There was always
something that needed to be tended to and he took his responsibilities as speaker seriously. He
worked hard and expected those around him to work as hard, including us, his children.

Dad has been a genuine public servant, dedicated to improving the lives of others through being a
caretaker of State government. He understood that a responsibility of leaders is to use their power
for good and to help people as much as they can. He is hard-working, thoughtful, and known as a
man of his word by members of all political parties. Politics requires coalitions, working with
different people, coming to different conclusions based on different facts, and voting in the interest
of the people. This is the America of our Constitution. There is a normal give and take to a
collaborative process. My dad’s true talent was his ability to listen, research issues independently
in a detailed oriented manner, listen to the different sides and his staff and bring diverse groups of
people in the state together to compromise on legislation in the best interest of the people of the
State of Illinois.

My dad lived by a code of honesty with us and everyone around him. Even at a very young age, I
knew that because my dad was an elected official my family was held to a higher ethical standard
because we needed to be a model of behavior. My first memory was being in a friend’s car around
age 5 and their mom told me that I “better buckle up my seatbelt because your dad passed the
seatbelt law”. I quickly buckled my seatbelt. To this day, I still think about that when I buckle up
that I need to comply with the law, especially those that my dad helped pass to keep us safe on the
road. When I was around 10, we took a trip to Disneyland. Dad was in line to pay for the park
tickets and I read on the ticket counter that there was no ticket needed for children under 3. My
brother was just over 4 years old but looked younger. I asked dad, why don’t we just say that he is
3? He responded that we don’t do things like that, we do the right thing and will pay for his ticket,
and he did.

My parents had a college graduation party for me, and I received gifts from family and friends.
Dad required that I give him all the gifts so that his attorneys could review who gave them, what
the gifts were and the value of the gifts to determine whether or not I could accept them as his
daughter. In the end, most of those gifts were returned to avoid the appearance of impropriety. That
is how dad has lived his life, even when technically allowed under the law, he would err on the
side of caution to avoid an appearance of impropriety. When I started practicing as an attorney, I

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was working on a matter and realized after accidentally picking up another colleague’s document
at the printer that the client that I was working for was on the other side of a different transaction
as my colleague’s client. I approached my colleague and asked if the conflicts check had been
cleared and he brushed it off and said not to worry about it. I heard my dad’s voice telling me that
it was not okay to make that presumption, so I spoke to the partner that I was working with on the
matter. In fact, conflicts had not been cleared, and a waiver was needed, and obtained, to continue
our representation of that client.

Most important is who he is as a dad, granddad and husband. My dad is patient, loving and kind.
He takes his responsibilities in our family seriously, seeking to help all of us no matter how big or
small the problem even at age 83 when most people turn to their children and grandchildren for
help. He takes our cars into get serviced or picks up his grandchildren from school. He looks for
opportunities to be helpful to us. My mom taught him what love is. Despite coming from a family
that did not openly display affection with each other, he, along with my mom, built our family on
a foundation of true love and devotion to each other creating our close and loving family. That love
is rare and has been the stability that has grounded my life, and those of all of my family members,
despite difficult challenges and given us the strength to endure the months’ long trial. He provided
for me and my sisters and brother and always told us that the most valuable things in life are hard
work, family, honesty and education. All three of his daughters became attorneys. Our father is
proud of us, and we are proud of him.

Even though dad worked nearly every day, no matter what, I knew that my dad would be there for
me and anyone else that he could help. I never felt that he was distant or not present in my life
even when he was in Springfield for session during the week for months at a time. He was a caring
and devoted father. He would call every night from Springfield not to just speak to us but to go
over our homework and make sure that even though he was hours away, we knew that he was
paying attention to what we were doing in school. In grade school my spelling was not great, and
I was surprised when during one of our nightly calls he started quizzing me on spelling that he had
my mom send to him so that he could over it with me. He meticulously went over my report cards,
praising the good remarks, and helping me to improve when I got not such great comments. He
carved out time to be with us every week, including teaching us the value of our Catholic faith by
taking us to Mass every Sunday at St. Nicholas of Tolentine in Chicago Lawn. Dad has dinner with
me and my siblings and nieces and nephew at least once if not twice per week, and he picks up my
nieces and nephew from school once a week to spend time with them.

For as long as I can remember, my dad has pushed me, my siblings and his grandchildren to put
all of our efforts into school and work giving our best effort possible. One of his frequent
expressions was to tell us to work hard so that we would have as many opportunities as possible.
If it were not for my parents, I would not be an attorney. Although I was reluctant to go, given the
notoriously difficult workload and long working hours as an attorney, my dad convinced me to go
to law school. I had wanted to attend a graduate program instead and he did not dissuade me but
offered me the advice that a law degree was something that would give me stability in my career
and would always be something that I could fall back on.

I followed his advice and attended Northwestern Law School. He has been the person in my life
that has pushed me to keep working hard even when I wanted to give up or did not think I could
go on. However it was difficult, and I struggled to motivate myself to continue. In my second year,

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I wanted to give up and quit. He would not let me. Rather than challenge my reasons to quit, he
persistently spoke with me and had my sister who was already an attorney, and anyone else he
could find who had attended law school, persuade me of all the reasons to stay in law school. It
worked and I have practiced law for 20 years now.

In my 30s, I suffered serious and at times life-threatening medical problems which my doctors
struggled to treat. After years of working 50 to 60-hour weeks as a big law attorney, I had to stop
work suddenly, which was debilitating. I never imagined that I would be so ill at such a young age,
that I could not work and would have my career taken away. It was the most challenging time of
my life. As always, Dad was there for me, calling me nearly every day, having dinner with me
every week, pushing me to see different doctors, putting aside his busy schedule to go to doctors’
appointments and testing with me. Dad even insisted upon coming with me to a colonoscopy on
Election Day even when I told him that he did not need to go. He did not want me to go through
these challenging experiences alone. Despite me being exhausted from testing and doctors, he
convinced me to go to the Mayo Clinic. He took me there for one week of appointments and testing
even though it was during the veto session in November 2014. When my medical conditions
responded to treatment, true to what dad had told me 10 years before when I wanted to drop out
of law school, my law degree gave me the ability to restart my career in a different area of law. I
would not have gotten through that dark chapter of my life without my dad’s love, support and
guidance.

Dad has given much more to my mom and sister, Lisa. He saved them from my mom's abusive
first husband, who was physically and emotionally abusive he repeatedly threatened the life of my
mom and grandmother. At a time when many men would not marry a divorced woman, let alone
a woman with a child and an aggressive and violent ex-husband, dad married my mom and adopted
my sister. Dad defended them against her ex-husband’s threats, that continued after my parents
married. My mom told me that if it were not for my dad, she did not believe that she or my sister
would be alive. My dad is a hero to me for saving them.

My whole life my mom took care of us children and our house while working. However, since the
pandemic, she had to stay at home to avoid catching COVID. Like many older people that stayed
home to avoid infection, her health rapidly declined from decreased physical and social activity. I
have witnessed many of my friends’ parents in their 70s and 80s succumb to illnesses that were in
check before the pandemic due to having to stay home much like my mom. She is chronically ill,
suffering from numerous medical conditions including severe respiratory problems, heart
conditions that doctors struggle to control, and debilitating arthritis, rarely leaving the house even
for family birthdays. She is at times dependent on oxygen and has difficulty walking up and down
stairs. She has been hospitalized repeatedly. Since the pandemic, my dad has been her primary
caregiver. He took over doing the laundry, buying groceries, taking her to doctors’ appointments,
picking up her medications, getting her meals ready, and being the glue that has kept our family
together. Despite my mom’s deep love for my dad, she was unable to attend the trial except for
opening arguments due to her poor health.

He has spent his life devoted to helping all the people of Illinois. People approached my dad all of
the time, even when he was eating out with friends and family. To this day, people approach him
and tell him about how he helped them or their family members. One story that stood out to me, is
that of a young man who approached my dad while he was eating and asked him if he could help

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get him a congressional recommendation for a military academy because he wanted to become a
fighter pilot. After a brief conversation with him, my dad asked for his phone number and told him
he would see what he could do. After the young man left the table, my dad’s friend who he was
eating with said “I know his family, Mike. They are republicans”. My dad told him that it did not
matter that the family were republican or that the man lived outside his legislative district, he
wanted to help the young man serve our country. Dad helped him get a congressional
recommendation, and that man later became a fighter pilot proudly serving in the military.

I have run across so many people that he helped. One person worked at my accountant’s office.
She called me to get some information to file my tax return and mentioned that her father knew
my dad. She went on telling me that she was so grateful to my dad because after her father had
retired, he felt a hole in his life after retiring, and he was relieved to have a job again to have
something to look forward to each day. Dad often said that it was important that everyone have a
job or somewhere to go every day to have a sense of purpose.

He has helped people without them even asking. One person was my law school friend. She had
met my dad and they bonded over both of them having attended Notre Dame. After graduating, we
went to Barbri class together and studied each morning, and we even agreed that we would check
the bar results together. Sadly, while I passed, she did not. I had been anxious for months that I
would not pass and was devasted for her. When I told my dad, without me or her asking, he offered
for her to work as an issues staffer in Springfield while she studied to re-take the bar exam.

As a politician, dad worked to solve problems for his constituents. As Midway Airport went from
a sleepy airfield with few flights in my childhood to a bustling hub for Southwest Airlines,
residents that lived nearby complained about the noise from the planes. I have woken up at 5 am
in my parents’ house to a flight taking off a mile away at Midway, or had to pause my conversation
on the phone because I could not hear due to a plane passing overhead. Dad advocated to have the
city help residents near both O’Hare and Midway airports to replace their windows with more
sound-blocking and energy efficient windows to improve their quality of life, which eventually
happened through the Department of Aviation Residential Sound Insulation Program. Some
residents complained of a noxious odor emitting from the replacement windows and he again
pushed the city to provide non-toxic replacement windows to city residents near the airports. My
parents did not take advantage of the program, so I still hear the planes overhead their house when
I visit.

The Southwest Side of Chicago has undergone some of the most rapid population growth in
Chicago in the past twenty years with mainly families with children moving into the area. Parents
constantly complained about the lack of a selective enrollment school despite the large population
of children eager to attend school nearby. Children from the Southwest Side, including our
neighbor’s child, had to commute across the city every day to attend selective enrollment schools
through parents dropping them off early before work or making multiple transfers via public
transportation. This resonated deeply with my dad because he credited his success coming from
his working-class background to his education and encouraged his children to push us to attend
the best schools possible to have the greatest number of opportunities. He would voice his
frustration frequently to me that these were parents, some of whom do not speak English, from
Mexican immigrant families that wanted the best for their children, and he felt that the city was
not responding to help these children obtain a better education. He wanted them to have the same

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opportunities to achieve and go on to college that he had when he attended St. Ignatius. He worked
diligently with the local aldermen and the city to get a selective enrollment high school despite
resistance from the Chicago Teachers Union. At last, Hancock College Preparatory High School
in Clearing began its transformation to a Selective Enrollment and Career & Technical Education
high school in 2015. The demand has outpaced available spots and it has a long wait list.

Dad used his position to help people even when those decisions were not necessarily popular with
his constituents or contradicted his own Catholic faith. One instance was his support and lobbying
for the successful passage of the Religious Freedom and Marriage Fairness Act in 2013. While we
take same-sex marriage for granted in Illinois now, then it was a very contentious issue particularly
with religious people and not politically popular. The Catholic church opposed the bill. The then-
Archbishop of Chicago, Francis George, issued a letter stating that allowing same-sex marriage
was “acting against the common good of society”, and that “The state has no power to create
something that nature itself tells us is impossible”. It took years for the bill to pass and be signed
into law from when it was originally introduced.

In March 2013, when the bill came to the House for a vote, there were not enough votes and the
bill was tabled and later taken up in the legislative veto session in November 2013. In April 2013,
Dad and I had taken a trip to Rome and I remember standing inside the Vatican Museum looking
up at the splendor of the Bramante Staircase on Good Friday, when he asked me what I thought
about same-sex marriage. I had known my dad to be personally socially conservative in line with
his Catholic faith, so I was surprised by his question. I had presumed that he would be against
same-sex marriage. Feeling the weight of being at the center of our church, I said that the Catholic
church only recognized marriages between men and women, but that people are born just how they
are so why shouldn’t they have the right to marry? He was silent for a few moments and then said
that if one of his children loved someone of the same sex, he would want them to be happy and
marry whomever they wanted. A few months later in November, he became active in personally
speaking to legislators to push them to vote yes for the bill, making hard pitches to lawmakers that
faced opposition amongst their constituents. In a speech that he gave during debate on the house
floor, he quoted Pope Francis (who while affirming the traditional position of the church to
opposite-sex marriage expressed support for civil unions and later allowed priests to bless same-
sex civil marriage ceremonies), saying “Who am I to judge that they should be illegal? Who is the
government to judge that they should be illegal, and for me, that's the reason to support this bill”.
Despite significant opposition, including in his district, with the leaders of his church in Chicago
and threats of not being able to receive communion, he still decided to push for the legislation
because he believed that everyone should be treated equally with respect and dignity.

Your Honor, I would ask for leniency for my dad, for the sake of my mother, my nieces and nephew
most especially. He holds our family together and it would be a severe hardship to pull him away
from my mom and her need for ongoing care for the remaining years that she has left. He has spent
his life devoted to helping the people of Illinois. Please consider all of the contributions that he has
made to improve the quality and well-being of the residents of Illinois.

                                               Sincerely,


                                               Nicole Madigan

                                                   5
Honorable Judge John Robert Blakey
U.S. District Court for the Northern District of Illinois
Dirksen Federal Building, Room 1288
219 South Dearborn Street.
Chicago IL, 60604

I am writing to provide you with some insight into my father who I strongly look to up because
of the example he has provided me over 39 years.

My dad was an active parent, often playing catch with me, driving me to activities, eating
dinners together, and maintaining a constant positive presence in my life. Many times I didn't
understand how he would do it, but he always made time to show up for school events or
activities in spite of his busy schedule. When I went away to college, he would always check in
on me and see how things were going. He would often drive to Evanston, in order to have
dinner with me and spend some quality time together. My dad is the ultimate family man who
cared most about supporting and encouraging his children.

In my early teens, my dad decided to take up golf and we played often. It took me a long time
to understand why my dad took up golf because he wasn't particularly good at it. Overtime, I
came to realize golf provided him an outlet to get away from the stress of his job. And probably
most importantly, it enabled him to spend an enormous amount of time with me when we could
talk and grow closer without any distractions. My dad never really improved his golf game, but
our relationship only grew closer and my appreciation for his love and support is something I
will never forget.

I remember one day when I was a kid and he came home from work upset about something
that happened in Springfield. Apparently, a legislator lied to him and it created a problem for
him. After a while, I asked him "well why don't you just do the same thing back. 11 And he calmly
explained to me that life is all about honesty and keeping your word. When you give someone
your word, you must live up to it. As I have come to learn in my life over many years and many
experiences, my dad is a man of his word. If he says he is going to do something, then I can
count on him every time.

What I picked up on over time was his humility. While his profile rose within the State, he never
let the attention go to his head. He maintained a relatively small office that I don't think he
updated in at least 40 years. It was a few blocks away from our house and he would often have
meetings there rather than going downtown. He never felt like he needed to impress anyone.
He would always stay grounded and focus on what was important to him, which was spending
time with family.

One of my greatest memories was a series of baseball trips that just me and my father took to
baseball stadiums across the country. We would try and watch a series in each city so that we
could learn about and experience the history and fun things to do in each city while also
enjoying the different baseball teams and stadiums. Often times we would drive, leaving just
me and my dad to spend hours together talking about life and giving him an opportunity to
instill in me the core values he believed in. It was an experience that I will never forget and if I
am lucky enough I will do the same with my son one day.

I give you these stories to try and illustrate a man who is deeply committed to his family and
caring for others. He spent more time trying to help others and caring about others than he did
himself. As I learned more about him through our trips and other times together, my father
became my role model. He always has been a selfless, kind, honest, highly ethically,
supportive, and loving person. These are traits that I hope to carry on in my life and maybe one
day pass down to my children.
Finally, while my father is currently retired, he now spends the majority of his time helping my
mother with her various medical needs and appointments. He is her primary caregiver and
provides compassionate and attentive care to her in the comfort and safety of their home
unlike anyone else would be able to do.

I hope that I have provided some insight into my father and I hope that you take into account
the man I know and his selfless dedication to his family and all those around him. Thank you
for your time and consideration.



~~
Andrew Madigan
                                                                                    March 1, 2025



Judge Blakey,



        Hello, my name is John "Jack" Hynes. I have known Mike Madigan my entire life. I grew
up less than a block away from the Madigan family, and I lived there until I moved in 2019. My
parents were frie'nds with Mike an_d Shirley, and through the years I developed my own
relationships with Mike and Shirley, as well as their children.

        I am writing this letter-so you can understand a little more about my second father, Mike
Madigan. As a fireman I have been put in many difficult situations physically. Writing this letter
is one of the most difficult things emotionally that I have ever to deal with, other than the death
of my father and my wife's cancer battle. I want to tell you the real story of Mr. Madigan. A man
that taught me, along with Shirley and their children, that family is not just blood.

        My parents were neighbors and friends with Mr. and Mrs. Madigan. I was young and really
did not understand who they were. I would say hello and Mr. Madigan was always polite and
playful. On December 11, 1989, at the age of 13, my father died of a heart attack in front of my
mom, my sister, and me. That is when I began to understand who Mr. Madigan and his family
were as people. Food, clothing, and any other type of assistance was given almost daily. I
remember that Mr. Madigan and his family did not just come to the wake and say sorry, then
leave. They stayed both days and then went to the funeral as well. I am sure that you have been
to wakes and funerals, and th e one phrase that is always said, "It you need anything, please don't
hesitate to call." We all know that is BS, except to people like Mr. Madigan. 35 years later, and I
know that I can count on him or his family if I really needed something. To this day, when I attend
wakes and funerals, I do not make the statement above unless I mean it because of what I learned
from Mike Madigan.

        As stated earlier, I considerthe entire Madigan family as my extended family. I have always
been closest to Andrew. I think of him as my little brother, and he was the Best Man at my
wedd ing. I am 10 years older than Andrew, so when he was younger, I would sometimes watch
him if Mr. and Mrs. Madigan went out or had something to do. What always caught my attention
was when Andrew had things to do, such as sports, Mr. Madigan always made time to come see
him play. I can remember on numerous occasions; Mr. Madigan was in Springfield and he would
make it back in time to come to a basketball or baseball game for Andrew. Keep in mind, I was 10
years older than Andrew and it hit me that this man was busy 24/7 and still making it to his kids'
events. When I look back and having my own chi ldren, that is the type of father I want to be to
my own kids. I want to be the dad that will make every attempt possible to do things for his kids
no matter how busy I become. I want to be like Mike Madigan.
        I was lucky enough to volunteer time for Mike Madigan. The work included long hours,
being able to think quickly, and to work with others. The most interesting thing abqut the
volunteering was that while working, Mike Madigan was there as well. The late hours, the
weekends, he would show up and make sure everyone was doing okay. When I wrote progress
reports, he would spell check and grammar check my work. (I believe that this letter may have
not been written without his grammar assistance.) The work ethic he showed me that I was
working with him as well as for him. A true leader shows that he is willing to put the time in and
does not just give orders. Mike Madigan's work ethic still influences me today. I work a few jobs
and put in a lot of hours, but beca~se of what he taught me I know I can do it and do it well.

         Through my years of being a neighbor to the Madigan family, I got to see Shirley and Mike
interact with each other. The most important thing I noticed was the true love that Mike had for
Shirley. One of the most endearing times that I rememb_er is one evening while eating dinner at
Palermo's on 95th with my wife, I saw Mike and Shirley across the restaurant. The way he was
listening and completed devoted to Shirley was a beautiful site to see. It showed pure devotion
to one another. It showed me what a couple should be to each other. After all those years of
marriage he still looked at her with pure love. I hope I can still show that love to my wife later in
our life.

        Actions always speak louder than words . As stated previously in this letter, my father
passed when I was 13 years old. I love my father and still miss him to this day; he taught me a lot
in those 13 years but some things still needed to be taught and Mike Madigan was the one who
helped me be a man.

           •   Mike M adigan showed me how to be a good father by his actions with his children
           •   Mike Madigan taught me that work ethic is very important in life
           •   Mike Madigan showed me how to treat the women you love

These qualities helped mold me into the man I am today. His actions taught me so much that I
will always be grateful for everything he has done for me.

        Besides assisting me in my personal life, he also assisted me in many aspects of my life.
When I left college to Join the fire department, he made me promise him that I would go back
and get my degree. As he stated to me, "Even if you never use it, you will have it for your kids,
and it will make your mom proud." Approximately 8 years later I did go back to DePaul University
and receive my BA in Political Science. Having Mike Madigan to interview on political issues made
those papers much easier to write. He was 100% correct that it made my mom proud. I have a
degree that no one can take away from me.

       Everyone in life hits bumps in their personal life. In June 2021, almost four years ago I was
completely blindsided. My wife went in for a colonoscopy and 30 minutes later, I was told to come
back because the doctor wa nted to speak with both of us. He informed my wife and I that she
had cancer, and she needed to have emergency surgery because time is not on her side. My wife,
Meg, and I never even had a chance to digest and talk about it. We were back at the hospital that
night and surgery closely followed. While my wife was being wheeled out of the room for surgery
and not completely understanding everything, the first phone call I received was from Mike
Madigan. He was reassuring me that his family and him are there for anything, everything was
going to be okay. He did not just call once; he followed up asking about Meg's status. He is a very
busy man but still took the time to check in and that will never be forgotten.

        This is the most difficult pa_rt of my letter. I have explained how much Mike Madigan has
meant to me, but it was not just me he has been kind and generous to ... he has helped my entire
family as well. That is what hurts me the most. My brother Brian, who Mike Madigan has helped
tremendously throughout his life, came up in the trial in regards to Danny Solis. I do not know the
full extent of his role, if any, but it just hurts. My brother-is r:ny brother and nothing can be done
about that, but as I stated earlier in this letter... Mike Madigan and his family have shown me that
family is more than blood. I am proud to call Mike Madigan my dad. Another testament to Mike
Madigan and his family is that through all of this, the Madigan family never treated me any
different.

       In conclusion, Mike Madigan is not just a friend or neighbor to me, he is family. I have
learned so much from him, and he has shown me so much guidance and love.
                                                                                                 March 2, 2025



Judge Blakey,



Hello, my name is Lily Hynes. I am a sophomore at St. Laurence High School. Mike Madigan and my
family have been extremely close for as long as my own father's childhood. I consider him a grandfather,
and I also consider,his wife; my grandmother, his kids; my aunts and uncle.

I am writing this letter to help you better understand Mike Madigan from the eyes of someone who he
has positively impacted. We live in a day and age where our characters and who we are can easily be
swayed by the words of others. r hope that by the end of reading this you have a better understanding of
who Mike Madigan is outside of a political figure.           ~. ,

He has been an impactful figure throughout my whole life. l remember him from when l was young at
family gatherings and events, he never spoke much but he always had a kind smile on his face. Last year,
my grandfather on my mother's side passed away o n February 13th. It was a very sad time for my
household and brought about lots of chaos. I was to recite one of the eulogies that I had written. This
was an extremely new experience, and while I had never struggled with public speaking, this was
obviously very different. My sister is a lot closer with my mom's side of the family th 9n I am, so I felt a bit
nervous. I remember seeing Mike Madigan there, and I was confused at first. I do not believe he
personally knew my grandfather, he did not really have relationships with anybody in my mother's family
except my mother, and I was indeed aware of how extremely busy he was. I was glad to know that there
was someone in the audience who wasn't my family just because we were blood related, but someone
who was my family because he cared.

Months later I realized why he showed up; he showed up because there were people, he cared about
that were st ruggling, and he wanted to be there for those people. He did not have to be there; he
wanted to be there. I know that I have years upon years ahead of me, and while I may not be the wisest
person, f do know that going tremendously out of your way to make sure people feel loved when they
need it defines a good person. That is what defines Mike Madigan.

He has not only helped me , but so many other people in my family including my own father and his
mother. He has helped them becom e better people, and therefore helped me grow into a better person.

Mike Madigan is an honorable father, grandfather, husband, and most importantly ... an honorable and
good man.



Sincerely,

-~~~•0

Lily Hynes
       Dear Judge Blakey, Thank you for this opportunity to tell you of my esteem

for Michael Madigan.

      I became acquainted with Michael in the late 1980s, at the beginning of my

long career in arts administration. I worked at the Illinois Arts Council, the agency

I eventually led as Executive Director and as Chair. I admired and appreciated

Michael’s steadfast support for arts funding here in Chicago and across all of

Illinois. Eventually, my job responsibilities involved testifying at legislative

budgetary hearings. Despite his very busy schedule, Michael was always generous

with his time, offering thoughtful and deft advice on how to approach what were

for me—at least initially—intimidating occasions.

      However, when I think about what Michael’s kindness and friendship really

means to me, my thoughts stray far from Springfield, government, and career. I

came to Chicago in 1959 as a young bride, from the small city of Fall River,

Massachusetts, where I was born and raised. With its shuttered mills and

abandoned factories, my New England hometown was a world away from the Near

North side, where my husband and I rented our first apartment. Having spent all

the ensuing decades since in the city and on the North Shore, it’s only rarely that

am I reminded that I’m not a native. However, there have been painful times when

that fact catches me short, causing sadness and feelings of being very far away

from home. I’m thinking in particular of the death of first my father and then my
mother—both still back in Fall River, and later of my beloved husband Daniel M.

Pierce of Highland Park.

On those occasions Michael Madigan’s friendship has been tremendously

meaningful to me. The kindness he and his family extended to me – phone calls

and notes just to check in on me while I grieved, care packages of food and

flowers, invitations to spend evenings with them, all lifted my spirits and

telegraphed love during these periods of great loss.

That thoughtfulness and compassion meant the world to me and in my opinion

defines who Michael is. These qualities are most evident in the care he provides for

his wife Shirley, who is 82 years old, in poor health and very dependent on him. I

am glad to share my feelings with you and pray that you’ll consider them when

determining his sentence.




Sincerely,

Rhoda A. Pierce
                                     Craig P. Willert




                                      May 8, 2025

Honorable John Robert Blakey
United States District Court

                           Re: Michael J. Madigan


Dear Judge Blakely:

I know you learned a lot about Michael Madigan during the trial. I am writing to Your
Honor to share personal insights about Mike that I developed over the course of
working for him for over ten years. I am doing so because I greatly admire, respect
and look up to Michael Madigan. I hope that this will help Your Honor gain additional
insight to the type of man he truly is.

I first met Mike when I started working in his Pulaski Street office in 2011. I had no
political pedigree. I nor anyone else in my family had ever worked in Illinois politics. I
had no connections whatsoever. In Chicago parlance, I am “the nobody that nobody
sent.” But as I testified during the trial, a year after graduating from college with a
degree in communications, I saw an ad for a low-level data entry position while
searching for opportunities in Illinois specific to government and politics. I applied
online, got an interview and to my surprise I got the job. I gradually worked my way up
the ladder and was rewarded for my strong work ethic and effectiveness each step of
the way.

I continued that trend until Mike named me the Political Director for the Illinois Speaker
of the House in January of 2017. No inside track. No special treatment. Just
recognition of my talent and hard work. I tell that story because it breaks down the
inaccurate image I think many people have about Mike. He rewarded me not because
of who I knew, but only because of my hard work, radical honesty and commitment.

There are many things I came to admire about Mike as I got to know him through the
years. One thing many people don’t know about him is he invited disagreement. He
encouraged it. He wanted honest opinions. He didn’t want “yes” people. He wanted
people to speak their mind, even if it ran counter to his opinion – especially if it ran
counter to his opinion. Debate over issues and strategic decisions was encouraged. He
wanted the truth, even if it was hard to hear. I will always admire and respect Mike
Madigan for that.


                                                                                        1
I remember one time we were talking about certain elected officials who were known to
misrepresent facts. He said that he never understood why they lied because doing so
can create too many landmines to navigate and keep track of. He always said it’s much
easier to just tell the truth because then you never have to worry about stepping on
one of those mines. That story and that lesson have stuck with me ever since. It’s
something I continue to live by, both personally and professionally.

Too often, showing vulnerability is considered a sign of weakness and asking for help is
an indication that one may not be “up for the job.” When I first became political
director, that’s how I felt, too. Be tough. Hide your emotions. But I struggled with
mental issues and when I worked up the courage to tell Mike I was simply in awe of the
incredible empathy and compassion he showed me.

In the summer of 2018, I finally sought help for my mental struggles. I was diagnosed
with moderate depression and anxiety. I began taking medication and seeing a
therapist, working through a whole host of issues while also trying to get to a safe and
secure place where I felt comfortable. At that point, I was living in Springfield. Having
been born and raised in Chicago, Springfield was not my cup of tea. I was 30 years old
and single. I didn’t have any friends outside of the office and my closest friends and
family were three hours away in Chicago. Simply put, I was really hurting.

Following the November election in 2018, I decided that for the betterment of my
mental health, I needed to move back to Chicago, regardless of the consequences.
Closer to friends and family and an environment where I could thrive mentally. Prior to
myself, no Political Director had ever done the job while living outside of Springfield. It
was a reasonable requirement that you had to live there, and so naturally I was afraid of
the consequences should I make the request.

One day in the fall of 2018, I sat down with the Speaker and told him about the mental
issues I was struggling with and that I felt that I needed to move back to Chicago. I told
him I understood what that meant in regards to my job but that I was OK with whatever
decision he made. Without hesitation Mike encouraged me to move back home, in fact
he insisted on it. He expressed sincere empathy for what I was going through and said
that we’ll work through whatever logistical challenges come with the move. He told me
a personal story about someone close to him who also struggled with anxiety and
depression and said he was happy that I opened up to him. He told me that he would
do whatever was necessary to make sure I properly addressed my mental health. I am
so grateful to Mike. I will never forget how kind and gentle and supportive Mike was to
me during the darkest period of my life.

It may not seem like a big deal, but so many people have an inaccurate image of Mike
Madigan being a ruthless, emotionless and down-right heartless person, but as the
result of the many years that I had the privilege of working with him I know that, in fact,
he is the exact opposite.



                                                                                         2
I will always hold the utmost respect and admiration for Mike. He has helped shape me
into the man I am today. He showed me the importance of always being truthful. He
rewarded me, a nobody that nobody sent, for my hard work. He helped me during one
of the lowest times in my life.

Thank you for your time reading this letter.

Sincerely,




Craig Willert




                                                                                   3
April 24, 2025



Hon. John Robert Blakey
U.S. District Court for the
Northern District of Illinois
219 S Dearborn Street
Courtroom 1203
Chicago, IL 60604



Dear Judge Blakey,

         I am writing to you today as an employee and friend of Michael Madigan regarding his upcoming
sentencing hearing. I have had the pleasure of working for the office of Michael Madigan for over 25
years. I started as a teenager, still unsure of where I was going in life; and because of his influence,
professionally and personally, have become a decent, well grounded, kind hearted adult. I was taught
from day one that we do everything by the book around the ward office. It was instilled in me to help
others when we could and to always be truthful and honest. Mr. Madigan ingra ined in me and his
employees that no political work be done during government time, that our timesheets are always
accurate and that we show up to work every day. In June of 2024, I was diagnosed with Breast Cancer.
went through 20 rounds of radiation and never missed a day of work during treatment. Good work
ethic was something I learned from working closely with Mr. Madigan.

         I have gotten to know Mr. Madigan over the years and he is a kind and compassionate
individual. I would not be the person I am today if it were not for this man. Everything good in me I
have learned by watching him. I have watched him help constituents in any and every way he possibly
could. I witnessed countless people in need reach out for help, some about to lose their job, some
about to lose their home and he would always try to assist in any way he could. I have personally seen
and read hundreds of letters come in thanking him for things he has done over the years to help others.
They always made me so proud to work for him. I was able to see firsthand, that there truly are good
people who are willing to help others. I have observed him pick up food and drop it off, over and over
again, for a man who lives down the street and has no family.

           During his trial, I have watched him stay patient in situations that most would lose their
temper. With all the scrutiny of the media he never let it get to him; day after day, coming in with a
"good morning". He always asked how Lwas as if nothing was happening. There are times in my own
life, I reflect on those moments and ask myself how would Mr. Madigan react? I have undoubtedly
avoided confrontation with family and friends after witnessing his demeanor time and time again which
in turn has saved a lot of my personal relationships.

         Mr. Madigan is an amazing husband and father. The level of care and concern he shows his wife
and children on a daily bases is truly extraordinary. Mrs. Madigan is not in the best of health and she
relies on him for medication pick up, grocery shopping and doctor visits. He lives a very reserved
life. They don' t have fancy upgrades in their home or flashy cars. He is not this money hungry person
they paint him to be. Mr. Madigan is just the opposite. I even had to talk him into a smart tv (only a 32
in) to watch the Notre Dame games on because the TVs in their home from the 80s and he was unable
to get some of the games. He is a simple man who just enjoys a good book and dinners with his children
and grandchildren, and of course Notre Dame football games.
         One story I would like to share is a little personal. I was raised in a home where not everyone
got along. My Dad is a retired Chicago police officer who was tough on us to say the least. My older
brother and him did not always see eye to eye. This broke my Moms heart as well as mine. My brother
wanted to get away and attend West Point for college. He thought that would be a good fit for him since
he had no money for college and things weren't great at home. Mike Madigan helped make that a
reality for him. Mr. Madigan never asked us for anything in return, just wanted to help a neighborhood
kid out who truly needed it and I am proud to say my brother went on to graduate from West Point in
1997. My parents ended up divorcing which was best for everyone.

        Looking back, I probably acted up a bit as a teenager and young adult due to things in my
personal life but then came the summer job I never left. In a way it grounded me, taught me
responsibility, how to help others, which felt good. 28 years later I am still trying to help others. I am
far from perfect but there is no doubt I am a better human being, raising 2 good human beings, because
of Mike Madigan. I ask that you please consider all these amazing things he is when determining his
sentence and I thank you for taking the time to read my letter.



Sincerely,



April Burgos
May 19, 2025

The Honorable Robert Blakey
Everett McKinley Dirksen United States Courthouse
219 South Dearborn Street, Room 1288
Chicago, Illinois 60604


Dear Judge Blakey:

I am writing to ask for your consideration of the long history of compassion and kind acts that
Michael Madigan has done over his lifetime and in particular during his years of service as a
state representative. I have had a front row seat to many of those kind acts including the
kindness and compassion that he expressed to my family after a devastating loss.

Just a bit about how I came to know Mr. Madigan and the Madigan family. I grew up in the 13th
Ward in Chicago. My parents were not involved in politics and did not have political
connections. My Dad was an airline mechanic and my Mother a stay-at-home mom. They
taught us about standing up to injustice and helping those that had less than we did. Those
guiding principles and the social justice teachings at Lourdes High School drove me to pursue an
undergraduate degree in political science so that I could tackle the problems that I saw in the
world at a systemic level. Unfortunately, when I graduated, I had neither family nor political
connections to get a start in politics or government despite serving as President of College
Democrats at Illinois State University. In 1983, I asked Mr. Madigan, my state representative, for
a letter of support for my application for the Illinois legislative Staff Internship Program
operated by Sangamon State University (now University of Illinois Springfield) which he
provided. With his support, I began a 17-year career as a legislative staff person working on the
staff of the House Democratic caucus, rising from intern to Special Assistant to the Speaker.
During that long period, I had the privilege to closely observe Mr. Madigan's kindness and
dedication to his constituents and people of the State of Illinois.

During my tenure, I served in many different roles but the one in which I worked closest with
him was during the 1990s when I served as Special Assistant to the Speaker. In that role, I
worked closely with him on projects and constituent services which were always his first
priority. At a district wide level, he established a tracking system for every request received by
his office. Some were larger projects like the renovation of a vacant block into a baseball field
for a local little league and the redevelopment of vacant property on 63rd Street as subsidized
senior housing. Some were smaller ongoing projects like the program to enlist the city
inspectors and the courts to secure and rehabilitate abandoned and dangerous residential and
commercial buildings in the community and ensuring that potholes and collapsed sewers were
repaired.
But the requests that he took most seriously were those individual requests from people in
need who had nowhere else to turn. I remember clearly him giving me a copy of a napkin with a
name and number on it from someone who had approached him at a restaurant and another
time it was a note from someone who stopped him at the grocery store asking him to help them
with a family member. He would ask me to call them and work on resolving their issue. And he
would carry around a copy of the request in a folder, back and forth to Springfield, until the
matter was resolved. And if the request uncovered a problem with a private or government
office, he would use those cases to advance changes in state law.

The most powerful and personal example of his compassion and humanity stems from the most
difficult time in my life. In 1997, my 28 year-old sister was killed in a car accident; she hit a
pothole at 73 rd and Kedzie in Chicago, went into oncoming traffic and was killed. For me, my
family, and especially her twin-sister, this sudden loss shattered our worlds. During this very
difficult time, he and his wife Shirley went above and beyond to support our family- not only
did they bring the 13th Ward staff and volunteers to the services, notify other elected officials
about the loss, but he postponed the start of the legislative session that week so that he and
Shirley could attend the wake and funeral. _Even further, Mike and Shirley continued to support
my family in many ways - even giving my late sister's twin a ride home from law school once a
week for months.

And ours was not the only family that felt their warmth and support during difficult times.
Hundreds, perhaps thousands, of families across the state were touched by Mr. Madigan's
kindness at the most difficult times in their lives. For example, when a neighbor passed away
suddenly leaving behind four school-age children, Mike helped look out for the sons and
mentored them through school and into their careers.

I apologize for not being able to give you the names of the many, many, many people that he
has helped throughout his career without requesting anything in return, but I hope that my
letter gives you a sense of the depth and breadth of the kindness and compassion that he has
demonstrated during the time that I have known him. I hope that you will consider this letter as
you make your sentencing decision in the coming weeks and that you will show him compassion
and leniency in light of his many years of making a difference in the lives of the people of our
state.

Sincerely,

 )J~ ~
Mary~ssey
Honorable Judge Robert Blakey
United States District Court
219 S. Dearborn
Chicago, Illinois 60604

Dear Judge Blakey,

My name is Michael Sacks, and I write to you with deep respect to request leniency in the
sentencing of Michael J. Madigan. Having come to know Speaker Madigan well, and having
observed his leadership and personal character up close over many years, I am confident that he is
deserving of, and justice is served by, the greatest degree of leniency and mercy you can extend.

Background of My Relationship with Michael Madigan

The origins of my relationship with and deep respect for Speaker Madigan are both improbable and
ironic. My substantive involvement with the Speaker began at the request of Governor Bruce
Rauner, who asked me to help him bridge a divide with the Illinois General Assembly Democratic
leadership.

At that time, in the summer of 2015, Governor Rauner was a personal friend. My wife and I
socialized with him and his wife, Diana, and I had worked closely with him on various civic projects.
We had traveled together. My relationship with Speaker Madigan was, until then, only casual,
stemming from a childhood friend who had worked for his extraordinary wife, Shirley. Our
interactions were infrequent and brief, mostly at our mutual friends’ lifecycle events. I think it is
relevant that I came to my working relationship with Speaker Madigan as "Rauner's guy.”

In 2015, when Governor Rauner asked for my candid assessment of his performance after the state
failed to pass a budget, I gave him my honest opinion. I pointed out several self-inflicted mistakes
and offered suggestions for a path forward that would be good for Illinois and good for the Governor.
To my surprise, the Governor called shortly after we met and said, “Thank you for that. I needed to
hear it. You’re a commie but I trust you. I want you to help me get a budget deal.” I agreed, with the
caveat that Speaker Madigan and the Senate President welcomed my involvement. They were open
to it, and I began working – at significant personal effort and expense – to bring the parties together.

I cannot overstate the time and energy I invested in these efforts. I met with Speaker Madigan and
his staff countless times, as well as with the Governor and his team and the Senate President and
his team. There were confidential meetings with the principals, carefully arranged to avoid public
attention. I witnessed firsthand the dynamic between Speaker Madigan and Governor Rauner as
they worked through complex issues. Despite my best efforts, I was unable to help broker a budget
agreement in the back half of 2015 or in 2016 – an outcome I consider one of my greatest personal
failures.

What you do not know is that after working as hard as I possibly could, after getting to the goal line
numerous times only to have defeat snatched from the jaws of victory, I told Governor Rauner that I
could no longer assist him as I had concluded that he was the primary obstacle to compromise, and
that I was going to continue to try to help the Democratic leadership to carry the state forward. In
2017, the Governor’s own party ultimately concluded the same and overrode his veto to pass a
budget, ending one of the longest fiscal impasses in U.S. history.

Through this process, I came to know Speaker Madigan both as a person and as a leader. Based on
this intense comprehensive experience, I can say with complete confidence that Michael Madigan
deserves your mercy. He does not deserve to be in prison, and justice would not be served by a
prison sentence. I respectfully ask you to consider the following:

A Devoted Husband, Father and Grandfather

While he may not be known for outward displays of warmth, those who truly know Mike Madigan see
his tender, caring side. He is a devoted husband to his wonderful wife, Shirley, who has faced
significant health challenges. He has been her primary caregiver, and his love and dedication to her
are deeply moving. She will undoubtedly suffer if he is unable to continue in this role. He is a loving
father and grandfather whose family will suffer in his absence.

A Compassionate and Caring Friend

Mike Madigan’s decency and compassion are genuine. He reached out to me when I lost my father
and with his experience helped me through a difficult time. He regularly makes time to check in on
my mother. Despite the immense pressures he faces, he consistently takes time to support friends
and colleagues in times of need. There have been numerous times over the last years and months
when I have been touched by an act of his kindness or concern in light of the stress he has faced. I
am certain that many others appealing to you will echo this sentiment.

A Man of His Word

Speaker Madigan is renowned for two things – his careful use of words and, more importantly, for his
unwavering commitment to keeping his word. In Springfield, it was well known: if Speaker Madigan
gave you his word, he kept it. His integrity was never questioned, even by his fiercest opponents.
They may have battled with him on the issues, but they never accused him of lying. I believe his
cautiousness in making commitments stemmed from his deep sense of responsibility to honor them.

An Exemplary Work Ethic

Having built a business in an industry known for demanding work, I can attest that Speaker Madigan
is among the hardest-working individuals I have ever encountered. Throughout his entire career he
worked extraordinarily long hours. He worked at night and on weekends. His dedication to
constituent services was unmatched. If we had that same level of effort and organization across the
city and state we would no doubt be better off. There is also no doubt that Speaker Madigan’s work
ethic drove his success – this is a point missed by those who seek to paint his strength and
accomplishments as the result of inappropriate conduct.

Leadership Rooted in Consistency and Fairness

Being Speaker is not akin to being a chief executive; it requires managing a diverse caucus and
balancing countless interests. Speaker Madigan’s approach was rooted in consistent process and
procedure, treating people with integrity and fairness at all times. He avoided outright refusals when
possible, as he understood public servants’ obligation to both hear and consider concerns important
to all constituents. It is this approach that led many to believe they were influencing him when, in
reality, his listening or engagement was part of his larger, polite and principled process.

A Values-Driven Advocate for the Vulnerable

There are some who view Speaker Madigan’s leadership as rooted in his desire for power, but I
witnessed the opposite. The Speaker Madigan I saw in battle first hand was a Speaker who was
driven by his desire to speak for and protect those without power. Throughout my work on the
budget, I saw Speaker Madigan’s unwavering commitment to protecting social services and
defending the rights of working men and women. He fought passionately against efforts to cut
support for the poor and vulnerable.

The Speaker stood firm when the Governor threatened funding for heating oil subsidies for the poor
at Christmas in Chicago. When the Governor proposed cutting funding for shelters for battered
women, the Speaker fought back. And when the Governor wanted to lower prevailing wage
requirements for construction workers and make changes that limited workers’ ability to organize,
Speaker Madigan worked to defeat those measures too.

His values were clear, and his leadership undoubtedly protected millions of Illinoisans. Too often it
seems elected officials forget why they ran for office in the first place, or get caught up in the
trappings of political office. Speaker Madigan never forgot. He has lived a simple life that defies most
people’s view of a powerful political leader. Most importantly, he never failed to meet his obligation to
protect those who couldn’t protect themselves.

A Reluctant Target, a Loyal Defender

During the intense political battles with Governor Rauner, Speaker Madigan became the focus of
relentless negative campaigning, with millions of dollars spent on painting Mike Madigan as the
leader of “corrupt Democrats.” He chose not to defend himself, instead dedicating campaign
resources to support other Democrats.

This selflessness, while noble, took a toll on his personal reputation. This man who spent his career
protecting people who were under assault – who even former Republican Governors praised – had
his personal reputation torn down by the enormous amount of money spent by Governor Rauner and
a small number of key supporters. That negative branding was powerful and pervasive. It shifted
broad public opinion about Speaker Madigan. And it is hard to believe that in some way it did not
contribute, directly or indirectly, to the circumstances he now faces.

A True Public Servant

In my experience, Speaker Madigan is the antithesis of the caricature painted by his detractors. He
is a fundamentally decent family man, a kind and loyal friend, and a dedicated and compassionate
public servant who gave his very best his entire adult life for the people of Illinois. He succeeded
through honesty, intelligence, values, and work ethic. He was attacked mercilessly for standing up
for his beliefs, and he has suffered greatly as a result.

A Humble Request for Mercy

Speaker Madigan deserves to spend his remaining years at home, caring for his wife and family. I
respectfully and humbly ask that you show mercy to this good and decent man – a man who has
given so much to his state and its people, protecting and enhancing the quality of life for millions.

I believe this request is consistent with justice and is the right and decent thing to do.

Thank you for your consideration.

Respectfully,​
Michael J. Sacks
May 13, 2025



Dear Judge Blakey,



Prior to my retirement in 2022, I was President of SEIU Local 1 and the President of the SEIU Illinois State
Council. I served as President of both organizations for over 25 years. SEIU Local 1 represents over
50,000 Property Service workers in Chicago and five other Midwest cities. The Illinois State Council is
SEIU's political arm representing over 150,000 healthcare, property service and Public employees.



In my capacity as the leader of SEIU I interacted and worked with Mike Madigan many times over the
years.



In the early 2000's Mike Madigan played a crucial role in helping our union pass legislat ion establishing
employment standards for Home Healthcare workers and Home Child Care workers. These workers play
a vital role in the delivery of Home Care and Child Care in Illinois. They were amongst the lowest paid,
often working minimum wage. With the Act, we were able to move these jobs to living wage jobs with
better training standards.



The lives of over 90,000 workers have changed dramatically. Their work has become more stable and
their livelihoods more sustainable. The hundreds of thousands of who need their services also benefited
from a more stable and better trained workforce. Mike Madigan supported this legislation and was
crucial to getting it enacted into law.



In 2006, our Union led a major legislative/political campaign to raise the minimum wage in Illinois.
There was significant opposition from the business community, making for a complicated legislative
process. During our campaign I had numerous conversations with Mike Madigan. These were frank
conversations on what we could and couldn't compromise on. It was important that we cou ld trust
what we said to each other. Mike Madigan was able to strike a compromise. We achieved what we
needed, a $1.00 increase in the minimum wage, and the business community got a longer ramp of 25
cents a year.



The compromise we reached was the legislative process at its best. Mike Madigan worked hard to get
us to this compromise. He was the gear that made it all work and thousands of Illinois workers were the
beneficiaries.
I would describe my relationship with Mike Madigan as a good relationship. It wasn't a good
relationship because we agreed on everything, which we didn't, or even that we necessarily liked each
other, which we did, but it was a good relationship because it was a credible relationship. In my
dealings with him, Mike Madigan was an honest and reliable person. I could trust what he told me.



In my over 30 years of interacting with Mike Madigan, whether on big things or small things, I don' t
believe he ever lied to me. In my experience Mike Madigan has been trustworthy.



I hope you will take these comments into consideration in your sentencing.



Sincerely,

Thomas Balanoff

President Emeritus

SEIU Local 1
April 10, 2025


The Honorable John Robert Blakey
United States District Court
219 South Dearborn Street, Courtroom 1203
Chicago, IL 60604

Re:    Mike Madigan
Dear Judge Blakey:
I am writing on behalf of Mike Madigan, who is facing legal proceedings which may result in his
incarceration. I have known Mike professionally and personally for over four decades.
Few public servants have shaped the course of Illinois policy and progress as extensively as Mike
Madigan. Over the course of more than five decades in office, Mr. Madigan played a central role
in crafting the very policy framework that continues to protect and improve the lives of millions
of Illinoisans today. From education reform to workers' rights, from infrastructure investment to
public healthcare access, and to equality in marriage, his role was instrumental in nearly every
major piece of legislation passed during his time in office.
The first policy discussion I recall having with Mike was about the Scaffold Act, a law that, at the
time, provided additional remedies for workers injured or killed from falls on ladders or
scaffolding. While many lobbying interests argued that existing OSHA regulations and workers’
compensation laws offered sufficient protection for workers, Mike held a different view. Drawing
on his deep understanding of the construction trades and the risks faced by largely blue-collar,
often first- and second-generation workers in those fields, he believed passionately that the State
of Illinois had a moral obligation to maintain stronger safeguards. In his eyes, the Scaffold Act was
not just policy—it was a statement of values, ensuring that contractors who cut corners with
workers’ lives would face real consequences.
In the decades-long fight for gay and lesbian equality in Illinois, I came to understand that politics
is, indeed, the art of the possible. Throughout that struggle, Mike Madigan demonstrated
extraordinary leadership, masterfully keeping his majority coalition intact despite a caucus that
included members with deeply divergent views on LGBTQ rights.
While our movement was broad and determined and made up of LGBTQ individuals, allies, and
advocacy organizations fighting for non-discrimination and, ultimately, marriage equality, I firmly
believe it was Speaker Madigan’s courage and quiet commitment that made those victories
possible. Under his leadership, Illinois became one of the first states in the nation to pass marriage
equality through the legislature—not by court mandate, but by democratic vote.
Though I’m not a lawyer, I believe that legislative milestone in Illinois played a meaningful role
in shaping the national conversation that led to the Supreme Court’s decision in Obergefell v.
Hodges. It showed that equality could be achieved not just through litigation, but through the
democratic process thanks in large part to leaders like Mike Madigan who were willing to stand
up when it mattered most. Ultimately, Mike Madigan’s efforts on behalf of marriage equality had
a profound impact—not only on the quality of life for countless individuals and families in Illinois,
but also on the national momentum that ultimately led to broader recognition of LGBTQ rights
across the country.
Over the course of at least four decades, I’ve come to know Mike and Shirley Madigan—not
closely, but as one among the many thousands of constituents, allies, and friends whose lives
they’ve quietly touched. I’ve observed them as a devoted couple, true pillars of strength for each
other, particularly in recent years as Shirley has faced serious health challenges. In light of their
bond, their age, and Mike’s lifetime of public service, I respectfully ask Your Honor to consider
an act of mercy for a man who, across 82 years, has given so much of himself in service to others.
I am available to provide any additional information or answer any questions you may have. Thank
you for considering my letter.
Sincerely,


Fred Eychaner
Hon. Robert Blakey
U.S. District Court, Northern District of Illinois
219 S. Dearborn Street
Chicago, Illinois 60604

Dear Judge Blakey,

I am writing in regard to the upcoming sentencing hearing of Mike Madigan. I served as State
Representative of the 13th District from 2006 until 2023. I was called as a witness in Mr.
Madigan’s trial and the Government called me as a background witness in other related trials. I
say this only to indicate I am aware of the basics of the allegations underlying the charges he was
convicted of. I am not writing to you about the facts of his case, but rather to share a little of my
professional experience with Mr. Madigan on consequential issues of public importance, and
specifically to discuss the times that Mr. Madigan used his position and influence as the Speaker
to advance major LGBTQ rights legislation at a critical juncture in the national marriage equality
movement.
When I joined the House of Representatives at the end of 2006, one of the first things I did was
meet with then Speaker Madigan to let him know that one of my and my constituents’ top
priorities was to pass a marriage equality law in Illinois. At the time marriage equality was legal
in just a handful of states, and the debates about the issue nationwide were extremely hard fought
and emotionally charged, with powerful forces on both sides.
Speaker Madigan listened carefully to my discussion of the issue, had several substantive
questions about the interplay of the constitutional issues of equal rights and religious freedom,
and talked about the strength of opposition the effort would face, as well as his view of the
political landscape for it in different parts of the state. He also told me to keep him informed on
the progress of our organizing and lobbying efforts and offered at that first meeting that he would
help with the effort whenever he could.
In February of 2007, I introduced a marriage equality bill for the first time and began the work to
educate my legislative colleagues and build support. I continued to file that legislation and work
with advocates and allies on the issue every year. Mr. Madigan was always helpful with my
efforts. The battles were emotional and hard fought by both proponents and opponents. In
November of 2010, Illinois took the first step and the General Assembly approved SB1716, the
Civil Union Act, by a very close vote with Mr. Madigan both supporting the bill and voting ‘yes’
when it came up for a vote that year.
The work on full marriage equality continued, and 3 years later in 2013 we were ready for a vote
of full marriage equality for our State, one of only 11 states able to do it legislatively, without
judicial intervention. The hope was for the bill to pass the House on the final day of the Spring
Session, but at the last minute, opponents of the bill were able to pull off some Representatives
who had previously indicated they would be ‘yes’ votes, and consequently I did not call the bill
for a vote.
Both sides ramped up their efforts around Illinois in grassroots organizing, politics and advocacy.
Strong voices from the business, labor and faith communities weighed in, both for and against
the marriage equality law, as did community leaders and editorial boards across the state. In the
2013 Fall Session, the proponents thought we were close enough again to succeed. Speaker
Madigan actively assisted in advancing the bill and to get it to a final vote. In the final days
leading up to the vote, Mr. Madigan personally lobbied several members who were on the fence
or nervous about their vote and was able to convince them to remain solid ‘yes’ votes. He also
stood and spoke to the House in support of the bill, quoting from the late Pope Francis as a
further message of support. He could have sat on the sidelines of this controversial issue, but
instead he actively supported it and did what he thought was right.
Mr. Madigan’s steady support for this incredibly important – and politically complicated – effort
was critical to the eventual passage of the Marriage Equality Act in 2013. His efforts over the
years, including his work to get the bill to final passage, is one example of Mr. Madigan using
the influence of his position as Speaker to accomplish what I believe was a truly laudable public
goal, and he did so because he believed it was the right thing to do.
I ask that you take into account all the good things that Mr. Madigan helped to accomplish for
the citizens of Illinois over his years as Speaker, and not just the misdeeds that were the focus at
his trial, when you consider the appropriate sentence.
Thank you for considering this letter.


Sincerely,
Greg Harris
Former Representative Greg Harris
                                       Patrick Hickey




April 20, 2925


To Whom It May Concern,


My name is Patrick Hickey, and I was a lifelong Chicago resident, retired to Indiana and the proud son of
an Irish American father who distinguished himself in battle in World War Two as a United States Marine
fighting with the Third Marine Division. I am also a proud member of a large extended family of prominent
members and leaders of organized labor unions in Chicago. I have spent my entire professional career in
the education field serving primarily in the Catholic school systems.
I currently serve as a substitute teacher at Westville High School where I teach middle and high school
students. While I do not earn a lot of money, I feel very fortunate because I feel my work serves a
purpose and it is a labor of love.
In 1996 I was recruited to become the director of development at Leo High School by Leo President
Robert Foster. President Foster was the first layperson to ever hold the title of President, and he was only
granted the presidency because the Chicago Archdiocese was seeking to close the school due to lack of
enrollment and change of ethnic enrollment from white to black. It was Bob Foster’s strong belief that
even though the ethnicity of the student body had changed the school’s mission to educate inner city
males remained the same regardless of color.
President Foster warned me before taking the job of development director that we faced an uphill battle to
remain viable because enrollment was way down, and the Archdiocese had pulled its funding.
I accepted the job as a challenge because of my strong beliefs in Catholic education and equal
educational opportunities for all. The job was difficult, and I was told more than I was allowed to give in
my pitch. It seemed like we were always running short on funding and talk of closing was always
prevalent. Then one day out of the blue President Foster received a phone call from Speaker Madigan
requesting a meeting.
President Foster met with Madigan who told Foster that he had read about Leo’s situation, and he wanted
to help. When Foster inquired about why Madigan told him that he felt Leo was a strong anchor in the
community and even though it was not in his district he felt it made Chicago stronger, safer and more
stable.
Foster then assigned me to serve as a liaison to the Speakers office and the result was a large grant. I
can honestly say that Leo High School would probably not exist today without Speaker Madigan’s
intervention into a school which he had no connection with and an act that he would get no credit for and
derive no benefit from.
I have read a lot about Speaker Madigan and am aware that he has been convicted of some crimes, but I
can honestly say that that is not the person I know who reached out to help a community in need for the
sole purpose of strengthening a community and giving young men a fair shot at a great education and the
life opportunities that come with that education.
I would humbly ask this court to take this great deed and the many other good deeds that he has done
expecting nothing in return into consideration when sentencing Mr. Madigan.


Sincerely,
Mr. Patrick Hickey
                      BARBARA GIORGI VELLA




Honorable John Blakey
U.S. District Court
Northern District of Illinois
Dirksen Federal Courthouse
219 South Dearborn
Chicago, Ill. 60604

Re: Michael Madigan

My name is Barbara Giorgi Vella. I am a personal friend of
Michael Madigan and met him through my father “Zeke” Giorgi, who
was a state representative for 29 years and served with Mike
until he died. I am married to Frank Vella and we have three
children. Two are attorneys. We have two grandchildren. I am
an attorney and have practiced for 32 years.

I have known Mike for 40 years. My father had a close
relationship with him as they were both Democrats and my father
was in leadership during his tenure. My father had a great
respect for Mike’s work ethic as he was hard working and
disciplined. They shared a belief that blue collar workers
needed a voice in Springfield.

When persons are in leadership, there is an understanding that
their words matter and that trust must be maintained by keeping
your word. Every decision and agreement cannot not necessarily
be written. My father was the son of Italian immigrants. He
dropped out of high school to support his family, received his
GED in the Army during World War II and went on to serve as a
State Representative for 29 years. He had no illusions about
how important he was and had no hidden agenda. My father’s
word was his bond with his family, constituents and fellow
legislators. I can truthfully say my father acknowledged to me
that he could trust Mike’s word. This mutual trust was the
foundation of their relationship.

My dad and Mike shared both shared a strong belief in family
life. When I spoke to Mike on the phone, we often talked about
our respective families. He wanted to know about my sisters, my
husband, our children, my mother before she died and my nieces
and nephews. He was proud of his children and how they matured
in their careers, relationships and as parents.

After my father died, I was motivated to keep his memory alive
so I started a scholarship fund at NIU College of Law. Mike
supported me in that and contributed to the fund and encouraged
others to do so. Mike also honored my father in other ways.
He established the Zeke Giorgi Legal Clinic which is housed in
Rockford. It was opened in 2001 and is still operational.

The purpose of the Clinic is to train law students to prepare
for their profession and to help people who need information and
representation for criminal and civil matters. Since March 9,
2001, the Clinic has served 5,506 persons with legal matters.
All services are free of charge. Presently the Clinic is
serving 137 total clients, 102 in criminal defense and 35 in
Civil Justice defense. The Zeke Giorgi Legal Clinic has been
recognized by the Winnebago County Health Department for
leadership in violence prevention, and by the Illinois Bar
Association for Excellence in Legal Education for emphasizing
real world skills for law students. The Clinic also works
closely with the Family Peace Center helping victims of domestic
violence. My father would be proud that the Clinic continues
the work that he supported.    Without Mike’s support and
guidance, this Clinic would not have been available to our
community.

I was approached by the University to honor Mike for his
contributions to NIU. I asked him if he would like this.    He
declined any honors and stated he did this for his friend and
not to honor himself.

Mike has been a wonderful friend to my father and a great friend
to our family. We all miss my father and he is remembered by
the City of Rockford and many people because of the Clinic, the
naming of the State of Illinois building and the naming of part
of Highway 39. Mike spoke the eulogy at his Mass. My father
died in 1993 but many still remember him and his contributions
to the people and the City he loved. I know that Mike helped
him fulfill his mission.   Theirs was a lasting friendship.


                                   Thank you

                                   BARBARA GIORGI VELLA
March 19, 2025

The Fall of 2007 was a challenging time for me. Recently divorced, I was still navigating
its toll on my family, particularly my three school-aged children and on my career as a
member of the Illinois House of Representatives. Divorce is always difficult, but it can be
brutal for those in public office.

On a much broader stage, it was also a challenging time for our country with the
deteriorating situations in both Afghanistan and Iraq. As you may recall, then President
Bush implemented General Petraeus' Surge and sent an additional 20,000 troops to
Iraq. For reasons not relevant to this letter, I answered that call and reenlisted in the
United States Marine Corps Reserves. I very quickly found myself training with a Civil
Affairs unit based at Camp Pendleton.

Once our unit was mobilized for deployment to Iraq's Anbar Province, I made a public
announcement that I would be taking a "leave of absence" from my duties as State
Representative for the 97 th District of the Illinois House of Representatives.

As you can imagine, opinions were mixed. Some folks were helpful, others not so much.
I expected the pushback from the anti-war groups, and I expected some local political
opposition about "abandoning my district."

What I didn't expect was the push by some in Republican leadership to pressure me to
resign me seat. There were many reasons given with the biggest being my seat would
be targeted by the Democrats, and I would cost House Republicans time and resources
and possibly lose the seat.

It is difficult to express the level of anxiety that this caused. I was about to leave my
family and friends and deploy to a war zone and some members of my own party were
trying to force my resignation.

Desperate to retain my seat and my only job, I had a meeting with then Speaker
Madigan to explain my situation and relay the concerns about the potential vulnerability
of my seat. I can still remember the Speaker stating that it made no sense to target
someone serving their country and noting that a seated member of the Illinois General
Assembly hadn't deployed to a war zone since WW2.

The Speaker concluded our meeting by offering assistance to me, my staff and my
district. I actually had Democrat House members come to my district and hold office
hours. It is difficult to imagine that in today's environment.
There was no quid pro quo, no arm twisting on any votes. Upon my return, I resumed
my seat and served as the loyal opposition for several more years. We disagreed on
budgets and rules as we had pre-deployment.

Serving in a war zone demands one's undivided attention. Speaker Madigan's actions
gave me a piece of mind about my district and removed a potential source of distraction.
Those actions allowed me to focus on the mission at hand, a focus that greatly
contributed to my safe return.

I will remain forever grateful.

Sincerely,
Jim Watson
Former State Representative, 97th District
Staff Sergeant, USMC - Operation Iraqi Freedom
May 11, 2025



Honorable Robert J. Blakey
U. S. District Judge
Northern District of Illinois
219 S. Dearborn
Chicago, IL 60604




Dear Sir,
I write to provide you with information about Michael J. Madigan.
I am an attorney, a former federal law clerk, the owner of an international homewares
business, an elected official, and a Republican. For twenty-five years I have been the
Chairman of the Sangamon County Board. In that capacity I came to know Mike
Madigan professionally and personally.
My first introduction to Mike Madigan was in November of 2002, soon after the election
of Rod Blagojevich as Governor. Our community had worked diligently over a number
of years to secure funding for a performing arts center in Springfield. In the waning
weeks of Governor George Ryan’s term as governor we had secured a state grant for
five million dollars that was critical to our construction financing. Newly elected
Governor Blagojevich announced that he was cancelling all state grants awarded under
Governor Ryan. As you can understand, the community was in a panic. Our local
representatives knew no one in the incoming administration. In desperation we turned
to Shirley Madigan, Mike’s wife, who chaired in the Illinois Arts Council. She arranged
for me to meet Mike Madigan. Mr. Madigan listened very intently to my presentation of
the facts. At the conclusion of my presentation he said simply, “Let me see what I can
do.” Within a month of the new administration taking office, Governor Blagojevich
announced that one grant, and only one grant, from his predecessor’s authorizations
would be funded: The Arts Center for Springfield, Illinois. Mike Madigan never asked
for so much as a thank you for this invaluable service. He never asked to meet with any
local leaders. He never asked for or received any local approbation. To this day, I don’t
believe anyone knows the instrumental role in played in securing this vital funding. He
simply did what he thought was right.


It is said that no good deed goes unpunished. As proof of this adage, in 2009 I again
went privately to Mike Madigan at a moment of existential crisis for our community. That
year the Obama administration announced that as part of a high-speed rail program
connecting Chicago to St. Louis, the Union Pacific Railroad would be building the
equivalent of the Berlin Wall through the heart of our town. The community rose in a
fury that I never experienced before or since. But we could find no one in authority in
state or local government who would oppose the plan. No elected official would dare
stand in opposition to a popularly elected Democratic president, a newly inaugurated
Democratic Governor, the Union Pacific Railroad or the state or federal bureaucratic
planners. In desperation, I explained our plight to Mike Madigan. He listened
thoughtfully, ask several incisive questions about alternatives and then said, “I will
sponsor a bill in the state legislature to oppose this plan.” At the request of a local
Republican who he did not know well, Mike Madigan offered to sponsor a bill opposing
the tightly knit plan of the Democratic President, his administration, the entire
Democratic congressional delegation, the Democratic Governor and his administration,
and the Union Pacific Railroad. That courageous act, forced the railroad and the
bureaucrats to sit down and listen to our community. And that conversation led directly
to the adoption of an alternative solution that will be completed in 2028. Again, Mike
Madigan asked for nothing. He simply did the right thing for a community that wasn’t his
responsibility even if it meant opposing every state and federal official in his own
Democratic party. I know of no better example of integrity.


I once served as the clerk to the federal judge in Springfield, Illinois. I recall the burden
passing judgment placed on the federal judges I served. I have some, first hand,
appreciation for the difficulty of weighing a lifetime of choices made. I hope I can assist
you by relating that in my experience, the Mike Madigan I know, is a man of profound
modesty, meticulous honesty, and steely integrity.


Sincerely,




Andy Van Meter
Chairman
Sangamon County Board
Dear Judge Blakey,

My name is Jessica Basham, and I currently work as a governmental consultant through my
firm, Basham Government Solutions, LLC. Before starting that firm, I worked on the Illinois
House Democratic Staff for over 18 years, from January 2003 through August 2021. In brief, I
served as a Research Analyst from 2003-2013, Budget Director from 2013-2018, and Chief of
Staff from 2018-2021. For most of that time, Mr. Madigan served as Speaker of the Illinois
House, and I reported directly or indirectly to him.

I have interacted with Mr. Madigan for more than 20 years, and during that time, Mr. Madigan
consistently treated me with nothing but respect and kindness. The profession I choose to
work in has not historically maintained a reputation as one that is respectful and kind to
women. Even as a young staffer with relatively little experience, I believe Mr. Madigan could
see my hard work and dedication, and he encouraged me to learn more and grow as a
professional. For example, at times I would ask Mr. Madigan questions about people or issues
so I could gain context and knowledge to better understand why things played out the way they
did. While others might have not taken the time to explain, Mr. Madigan would share with me
his honest insights. When circumstances necessitated the selection of a new Chief of Staff,
replacing one that had served in the role for decades, Mr. Madigan put his full faith and
confidence in me, supporting me in helping him to lead the caucus and staff through a
tumultuous time.

While under his supervision, there were several times when Mr. Madigan prioritized my well-
being over issues concerning the job. I can remember an instance in particular when, as Chief,
I needed to have a difficult conversation with a caucus member concerning staff management.
It was very appropriate that I engage with this caucus member and set boundaries concerning
their intrusion into my role as Chief of Staff, and while I insisted that I do so, Mr. Madigan was
more concerned about my well-being. Just as this example illustrates, I always knew that Mr.
Madigan cared for me as a person, even over a dispute with a caucus member. He gave me
the support I needed to be confident in my choices, as well as grace when I made a mistake.

I have always known Mr. Madigan to be an honest and trustworthy person, both in terms of my
direct interactions with him as well as my impressions of his interactions with others. I don't
believe he would ever lie, and once given, he is always true and faithful to his word. I've come
to rely on Mr. Madigan as a person I can go to for an honest and truthful assessment of
anything, whether it be about my career, the people we have both worked with, or the issues of
the day.
After Mr. Madigan was no longer serving in the role of Speaker, our relationship changed into a
friendship, rather than a working relationship. We often talk on the phone about the policies,
politics, and people we've dealt with for many years, and I always make a special effort to visit
him in person when I travel to Chicagoland. To be perfectly honest, I am not happy and will
never be happy about the circumstances surrounding his departure from the Illinois
Legislature. Just as I know how deeply he cared for, and how hard he fought to protect, Illinois'
working-class families, the Democratic Party, and Legislature, I believe he struggles with no
longer being in a position to be that Protector. I hope that through our conversations, I help to
provide him with some connection with the happenings in Springfield.

It's not lost on me that while I speak so fondly of him, I do not refer to Mr. Madigan as "Mike."
While he has suggested that I can and should call him "Mike," I simply cannot bring myself to
do so. Frankly, it's hard for me to refer to him as Mr. Madigan. The way I was raised , when
someone duly earns respect, that respect is reciprocated wholeheartedly. When I speak with
him, I will always refer to him as "Speaker," in reflection of the hard work and sacrifice he gave
for decades and the respect he has earned from me.

I ask you, Judge, to please consider the life-changing positive impact that Speaker has had not
only on me, but countless others that he has impacted in his life of service.

Most sincerely,
Jessica Basham
                 ft.ssociatron
                 of Jesuit
                 Cofleges&
                     Universities



                             March 27, 2025

                             The Honorable John Robert Blakey
                             U.S. District Court, Northern Illinois District
                             Dirksen Federal Building
                             219 S. Dearborn Street
                             Chicago, Illinois 60640

                             Dear Judge Blakey,

                             I am happy to write this letter for Mike Madigan attesting to the character and
                             principles ofthis man. I have known Mike now since 2001 the year I became
                             president of Loyola University Chicago. Our friendship has been both
                             professional and personal. Shirley Madigan was a trustee of LUC when I became
                             the University's CEO and religious leader. She was then the head of the Illinois
                             Council for the Arts and a strong supporter of our growing fine and performing
                             arts program.

                             My career has been in higher education. As a Jesuit I have worked at several
                             Jesuit universities, (Fordham, Saint Louis University, Georgetown and the
                             Gregorian in Rome). I am presently the President ofthe Association of Jesuit
                             Colleges and Universities and reside in Washington, DC.
                            My academic specialty has been child and family development and family
                            counseling, which I practiced and taught for ten years before doing academic
                            administration. (Your honor, I can tell you that the best preparation for university
                            administration is working with dysfunctional families. If we meet, we can p.iscuss
~,msb'iltCCcil~A!L
                            the similarities of our professions, including priesthood, which I know something
S:.~sezae;;:e.sai:-         about, as well.)

                            My first encounter with Mike, socially, was that first year working for the LUC
                            Board. Someone told me after the first social occasion that people were curious
                            about the conversation among Shirley, Mike, and me. I asked why. They said: we
                            have not seen him laugh so much. I learned that professionally, Mike Madigan is
                            a very serious man. In social settings, however, he is charming and loves some
                            good humor. (I suspect this is the saving grace part of being Irish.)

                            Over my 14 years as president of LUC, we had many social occasions as well as
                            quiet dinners with Mike and Shirley, including his son. Most ofmy dealings,
                            however, were with Mike as Speaker of the House. I knew I liked him in that role
                            when he told me he was there to help the university and looked forward to my
                            visit in Springfield and, second, would it be okay if I would say the opening
                            prayer for the legislative session? When I asked later on in my tenure why he
                            wanted me to open the General Assembly each time I visited, he said: Candidly,
priests' prayers are shorter than preachers' and Rabbis' prayers. Your honor, this is true, for the
most part, they are. (Many of God's people know this.) I learned that I could bring him the
University's problems that Springfield can help address, and Mike would work with the
legislature and Governor for solutions. Mike's driving motive is solving people's problems. This
is the essence of the man....and his love for his wife and family.

Over the years we asked Mike for help. For instance, I needed to upgrade a facility d~wntown for
a large Mediaeval and Renaissance Art Collection, the D' Arey Collection. This would make it
available for the public. Mike-with Shirley's help- got us the money. (Your honor, I am not
showing this to a lawyer or to Mike and wonder if I have just revealed anything morally wrong
about securing that grant. It never crossed my mind because we Catholics go through Mary to get
things from Jesus, and this looked to me like an equivalent situation.)

Mike was also quite helpful in getting internships and introducing us to people who could help the
University. But, perhaps the most important legislation he helped us with-- time and time again--
was helping maintain the Illinois Scholarship program for in-state students. Tuition assistance
from the Government-Federal and State-is something of a lifeline for middle class and
economically disadvantaged students. LUC has always been a home for first-generation students.
This was a regular battle to keep alive and keep renewing. Even if the state subsidy grew only
marginally, at least it was not cut like many other programs.

While Mike Madigan was speaker, this became a "sacred cow," and thousands of Illinois citizens
have taken advantage of being able to bring their scholarship dollars to any institution in the State
that they desire and are able to attend.

I guess when the mighty are no longer in charge, their good deeds are often forgotten. I know that
there are many sacrifices that public officials "offer up," as we Catholics say, which are forgotten
or ignored. And, I am still having trouble understanding his guilt. Sorry, but I grew up in the
Italian section of St. Louis, The Hill. We were taught to be generous with your time and talent.
Mike was always generous with his time and talent. Doing good things for others, that is what we
are supposed to do.

Well, I have taken your time. I am happy, as I said, to offer this testimony about Mr. Speaker.
Thank you for reading.


Sincerely,




Fr. Michael J. Garanzini, SJ
President
                                      niversities




                                                                                      - -   -- · -- --
US District Court
Honorable Judge John Blakey
219 S Dearborn Street
Chicago, Illinois 60604


April3,2025

RE: Sentencing of Michael Madigan
                                   .
Honorable Judge Judge Blakey

I would like to comment on the sentencing of Michael Madigan.

I have never met the man. I have a 55-year-old son who fell off his roof and
suffered a traumatic brain injury.

12 years ago, during his stay in a nursing home, he received a bill for over
$12,000 (twelve thousand dollars).

His wife (now divorced) believed that Medicaid was going to pay this bill; and
they did not.

It was very difficult to communicate with this department of the government.
I wrote a letter to Speaker Madigan explaining my son's accident and recovery.
Two days later I got a phone call from an aid of Speaker Madigan and I was
able to get my son Medicaid.

I never received a letter, a text or email from the Speaker asking me for
anything, no request for dinner tickets, fund raisers or golf outings.

When no one would give me the time of day, Speaker Madigan responded that
any help my family or my son needed would be available.

Your Honor, based on my dealings with Speaker Madigan, it is clear he helped
many ordinary people who have problems.

I ask you to take this into consideration as you review his punishment. I ask
you to please show mercy to Michael Madigan.

Thank you for this~onsideration.


  ~
Elliot Miller
February 7th, 2025
To Judge Blakey and the court,
My name is Maria Veronica Reynoso, I am 54 years old and have been a U.S. resident for almost 4
years now. Due to my husband's work we had the great honor of knowing Michael J. Madigan on a
personal level.
Mr. Madigan is a very community oriented person. In a time where my immigration status seemed
dire, he stood up for me. He willingly went out of his way and wrote a letter to USCIS to help me
obtain my residency. Now, I am willfully writing this because we know him as a great community
man who stands up for us, his community. He listens and helps out the community as a good
public servant should. When we had complained to our alderman that our alley was in disarray, we
were ignored for years. He stood up for us and in a month the alley was repaired. A public servant
who actually listens, helps, and responds to his community is a great man.
Thank you for the time.
Sincerely,               • So
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             -   I
'! •   I
Maria Veronica Reynoso
February 28, 2025



Dear Judge Blakey,



We are writing to you of an account of how Michael Madigan impacted, actually added, to ou r family.
We would not have our daughter, w ho is now 31 yea rs old, if not for M r. Madigan's personal
involvement in our situat ion.

30 years ago, we were in the process of adopting our daughter, Anna, from Korea. She was born
premature and in an incubator after her birth. At nine months old, she was medically cleared by Korea
t o be able to be adopted and be sent t o America. To our knowledge, she had no other medical issues.
One of t he conditions required by U.S. Immigration is that the child have medica l insu rance. At t hat
t ime, we had individua l medical insurance, and therefore, any additions would be subject to insurance
company approva l for any adopted children to be added to our policy. She was denied by our current
carrier. We applied t o several other insurance companies, who also denied coverage. Whi le I
understood that the insurance companies did not want t o take any risk, their reasons were rather trivial.
One actually denied because my daughter had an umbilical hernia, an outer belly button.

At this point, we were getting desperate and thought we might have t o refuse receiving our daughter.
We sent severa l letters out t o va rious public officials seeking help. To our surprise, we received a phone
call from Michael M adigan, and he expressed concern for our sit uat ion. He asked who we had
attempted to contact , and if one was the Illinois Commissione r for Insurance. This was one of the people
we attempted to contact. At this point, M r. Madigan immediately got the commissioner on the phone
and asked him to review our situation. Our daughter was insured shortly thereafter. Mr. Madigan
personally called aga in a few days later to follow up. This was and is the only contact we have ever had
with Michael Madiga n other than a Christmas card of his beautiful family.

To this day, we do not know why Michael Madigan reached out and he lped us. Actually, we are
Republicans, and we cynically expected to have t o do somet hing in return. No such request ever came,
and as I said, it has been 30 years. I do know that the measure of a man's character is reflected in the
good deeds he does in secret. The gift of my daughter, who is a healthy, happily married, woman, would
not have happened witho"ut the kindness of Michael Madigan.

Sincerely,

□wd Francine Signore
Dear Judge Blakey,

My name is David Koehler, and I am the uncle of Connor Koehler, a 2015 graduate of Lemont High School. I am writing to share a story
that profoundly impacted our family and highlighted the character of one individual whose actions changed the course of my nephew's
life.

In the fall of Connor's senior year, he expressed his desire to pursue entry into the United States Naval Academy in Annapolis, MD. He
knew the odds were stacked against him, as no graduate from Lemont High School had ever attended a service academy. Nonetheless,
Connor was determined, and this aspiration became his goal.

One evening, while dining with his father at Palermo's in Oak Lawn, Connor had an unexpected encounter with Michael Madigan, the
Speaker of the Illinois House of Representatives. His father, recognizing the Speaker, suggested that Connor introduce himself, as entry
into the Naval Academy requires a Congressional nomination. Without hesitation, Connor approached the Speaker and shared his
ambition of attending the Naval Academy.

The Speaker listened intently, took down Connor's number, and assured him that he would look into what he could do to help. This kind
of personal attention from such a high-profile figure was truly remarkable.

At the time, I was unaware of this interaction, but later that weekend, as we were returning home from our family cabin in northern
Wisconsin, Connor's phone rang. He answered, and I distinctly heard him say, "Oh, thank you for calling, Mr. Madigan." From the
conversation, it became clear that the Speaker had followed through on his promise and was reaching out to help Connor with his Naval
Academy application.

Upon the call's conclusion, I was in complete disbelief and asked, "Was that THE Michael Madigan on the phone, and how did he get your
number?" Connor explained his encounter and how the Speaker had pledged to contact Congressman Dan Lipinski, U.S. Representative
for Illinois's 3rd Congressional District, to help Connor secure his nomination.

What was so impressive-and meaningful to our family-was the personal attention and follow-through Michael Madigan demonstrated.
His efforts on a Saturday afternoon helped Connor achieve his dream. Representative Lipinski, following through on the Speaker's support,
nominated Connor for the Naval Academy, and Connor was accepted into the United States Naval Academy in 2015. He chose the Naval
Academy to pursue his dream of becoming a military pilot, as it offered the best opportunities for aviation among the service academies.

Connor's dedication paid off. Upon graduating from the Naval Academy, he was selected for the United States Navy Strike Fighter Tactics
Instructor program, more commonly known as Top Gun. His selection was based on his exceptional flight performance, leadership, and
peer and command recommendations. He went on to serve with Strike Fighter Squadron 11 (VFA-11), also known as the "Red Rippers".

In late 2024, Connor participated in a mission aboard the USS Dwight D. Eisenhower (CVN 69), as part of a U.S. military operation to
protect international shipping lanes in the Red Sea and counter t he growing threat from Iranian-backed Houthi rebels. After 9 months of
successful operations, Connor and his squadron returned to the United States, having accomplished their mission.

A few months later, I had a chance encounter with Speaker Madigan at a restaurant. His table was next to mine, and I felt compelled to
express my gratitude for the difference he made in Connor's life. The Speaker graciously listened and asked me to send him a picture of
Lieutenant Connor Koehler in front of his F/A-18 fighter jet.

Without Michael Madigan's selfless efforts, Connor would not be the courageous, talented individual he is today. The Speaker's actions
shaped his path to success-through the Naval Academy, Top Gun, and ultimately, his military service. The Koehler family will be forever
indebted to Michael Madigan for the opportunity he provided for Connor and for his unwavering commitment to helping others.

In closing, I ask that you consider the good Michael Madigan has done, the countless individuals he has helped, and his willingness to
sacrifice his time for t he benefit of those in need of his assistance when determining his sentence. His actions have had a lasting, positive
impact on our family, and we are deeply grateful for that.

Thank you for your time and consideration.

Sincerely,

David Koehler

Uncle of Connor Koehler
Dear Judge Blakely,

As a child growing up a-                om the years 1971 to 1989 I remember my parents
talking about how helpful Michael Madigan was in the 13th ward. He would always help people
in the neighborhood and their families. He would provide answers to services and programs
needed in the community.

My Dad lived in the neighborhood until he recently died and my dad would always reach out to
the 13th Ward when he had safety concerns. Michael Madigan provided handicapped parking
for my mom when she was diagnosed with Rheumatoid Arthritis. He made it accessible for
families to reach out to get city services. He would address issues and concerns people would
have in the neighborhood.

My experience related to Michael Madigan was that he served his community well.

Thank you,



~ s , ne~ ~woo~
Dear Judge Blakey:

We grew up and currently reside in the 13th ward. We are now in our 70s. We feel as though Mr.
Madigan has always been a part of our neighborhood life. As members of his community, we have
always known, been aware of or benefited from Mr. Madigan's hard work, kind heart and good
judgement.

Growing up in Mr. Madigan's ward, we always had the best city services. Our streets were safe, plowed,
trash removed, trees trimmed and precinct captains who knew us by name, checking in to see if we
needed anything. Every Halloween, children would line up for blocks to go trick or treating at his
decorated "haunted" house. He developed the senior citizen snow removal program which exists to this
day and is the envy of every other ward in the city. He mentored children and established internship
programs. The neighborhood knew that if you had any type of issue or problem, the first place you could
call was the ward office which would either resolve the problem or direct you to the proper
resource. That was what Mr. Madigan did for our neighborhood.

When we were young it was rumored that Mr. Madigan came to the assistance offamilies who were in
need or who had lost a parent and were having a difficult time. At the time we never knew the names of
the beneficiaries of Mr. Madigan's caring generosity. It wasn't until later in life that anyone ever spoke
of it. But that was Mr. Madigan' s way - he never wanted fanfare or credit. He did all of this out of the
goodness of his heart. To this day, we are still surprised at the many stories that are coming out from
people who he has helped. That is what Mr. Madigan did for the families in his community.

Our personal story involves our younger brother who never married or had children. At age fifty-five he
was diagnosed with an extremely aggressive debilitating disease. Within months he lost his mobility, his
ability to speak and most of his motor skills. His condition was so serious that he needed constant care
that we could no longer provide. He was too young to be accepted into a nursing home and we couldn't
afford the three that said they might consider accepting him. We were desperate to find a place to help us
care for him so we went to the ward office for direction. After listening to our story, Mr. Madigan and his
staff said they would look into it. Within a month they called us saying they had found a nice place that
would accept him and had negotiated a price we could afford to pay. We have never been so relieved and
were beyond thankful for his assistance. In our opinion, this is how you can measure the true character of
a man - when he puts himself out and changes the direction of a life for the better and asks for nothing in
return. That is what Mr. Madigan did for us. We will be eternally grateful to him for this kindness.

Mr. Madigan is a kind, humble, brilliant, hardworking man who has devoted his entire life to
public service and helping others. He did so quietly without the need for attention or
recognition. He always believed in giving people a second chance. It is our hope that this good
man is permitted to spend his well deserved retirement with his family.

Thank you for your consideration in this matter.
Sincerely,
Bob & Judy Carey
Your Honor,
        My name is Tom Ryan and I've been a personal friend of
Mike Madigan for over 40 years. When we first met, it was
anything but smooth due to my rambunctious youth (I needed to
be straightened out if you know what I mean). We met when I was
a young laborer and as years progressed, I started doing things
that proved that I was growing up.
After settling down, getting married and pursuing something more
out of life, other than a bottle of beer or a motorcycle,
opportunities arose. Along the way, in the Department of Streets
and Sanitation, I advanced over the years from a laborer, to a
ward clerk, keeping track of payroll and attendance, and finally
landing my dream job of a Ward Superintendent. My dream job
was short lived as I was being considered to become a Division
Superintendent at the request of my Commissioner, Eileen Carey.
She was an incredible boss who I'm forever grateful to have
worked under! I refused it at first because I just wanted to stay
local and work with the people that I had labored with and known
all my life in sanitation. I didn't want to supervise hundreds of
people and argue with the likes of people that made you feel
unwelcome. After a meeting with Mr. Madigan, he assured me
that moving on to a better position would be good for me in the
long run.
With that, I was on my way to my new office and my new job. One
thing Mr. Madigan continued to say, as I climbed the ranks, was
how people are going to come to you and ask you for things.
Some of the things they're going to ask of you are not going to be
legal, you're going to know immediately that it's something they
shouldn't be asking you. I hear his voice in my head till this day
saying, "Remember Tom, resist and do your job!" So as time
went on, truer than fiction became a matter of fact. Everything he
told me became real and all of a sudden people that I never knew
were showing up at my door, asking for things that they knew I
could make happen. Yes, I resisted them all, I lost friends over the
 16 years in the title as division Superintendent. I was subjected to
some hectic, real life situations and situations I wouldn't wish on
anybody else. I know for a fact that there are people who have
gone to prison and lost everything; friends and co workers alike.
Those who had the same opportunities that I had had, but they
just did not heed the advice of Mr. Madigan.
Not once, ever, has this man ever asked me to do anything
outside the straight and narrow. All he ever preached to me was
"do your job!".     I know from experiencing life altering
investigations that our department was involved in (Hired Truck
Scandal, Silver Shovel Scandal, Hiring Scandal, etc.) that I'm in a
better place today because of the advice that I followed while
working for Mr. Madigan.
There's been other examples of how Mr. Madigan has impacted
my life, not only me, but my wife of 44 years who's been afflicted
with Multiple Sclerosis since she was 16. My wife and I had saved
up enough money to go out and buy a life altering van with a
motorized gate. My wife is unable to walk independently; she
requires a motorized scooter. This van would grant her
independence. She could go out on her own and not have to rely
on someone going with her to assist. Unfortunately, a
manipulative sales person at Mancari Chrysler didn't answer us
truthfully with how this van was constructed. We moved forward,
unaware we have been deceived, we took our new van to
Michigan, to a company called Freedom Motors for them to
convert the van into a handicap accessible vehicle. Sadly, again,
we were lied to about the conversion. How they proceeded with
the conversion, my wife was unable to swing her legs comfortably
and safely to get in her scooter. Once we discovered what both
companies had done, how they lied to us, we knew the van was
useless to my wife because she was unable to access her scooter
in a safe manner. When we approached each company, they
acted as if they didn't know what we were talking about; even
though we showed them physically what was specifically needed.
After several calls to the Illinois Attorney General's office, to the
offices of the companies we used, we were getting no where. I
had a chance to speak to Mr. Madigan about this problem to
which he kindly put me in touch with two attorneys (Heather Wier
& Adam Vaught) to represent us and get to the bottom of a very
bad situation for my wife. With these attorneys help, in the end,
due to their diligence, a deal was struck to put this entire mess to
rest.
We were still out a significant amount of money, but we were glad
to be done with a vehicle that was of no use to my wife and her
quality of life.
My wife and I were forever grateful for how Mr. Madigan took the
time to listen to the wrongdoings to our family and without
hesitation, shared his resources with us. His suggestion of these
two, wonderful attorneys, assisted us through a very stressful
situation in our lives. I'm happy to say that we have a van now,
that is fully functional and allows my wife the independence she
deserves to access our community.
  In closing your honor, I just want to stress how I came from a
 home where we all worked hard. There were seven of us kids,
five boys and two girls. My mother worked as much as she could
at a grocery store all while being a full time mother. My father was
a Chicago Policeman and back then, when we were growing up,
we knew not to get in trouble on the street or involved in a
situation that would result in being brought home by somebody
and handed over to our parents. On the way out the door at the
house, my father always took time to say "I'm gonna tell you
again, if you see trouble, you better walk away from it! Don't come
home here and say ohh I was just doing this or I was doing that.
You got me? You better walk away!" Till this day, I live by this
advice and I have instilled it within my own children. Walk away
from trouble, no excuses.
After I lost my parents, I gravitated to Mr. Madigan for advice,
council, or words of encouragement on topics that came up or
possibly some direction with an issue at work or even in my home
with my family. There's nothing that I could not ask this man and
his answers to me are always the most sincere truth and advice.
To this very day, even with the amount of things on his mind, the
problems with all his legal matters, caring for his wife Shirley, who
is not in the best of health, he still has time to listen to me when I
ask a question or need advice.
I love this man from the bottom of my heart and that goes for my
family as well. This man has always had my back and guided me
to do what's right every single time. He gave me a chance
because he saw something in me, beneath the surface. I beg you
to see that and give him a chance as well , Your Honor.
Thank you for taking the time to read my words. Please consider
this letter and my words as you pass judgment on my dear friend.
Many thanks.
Respectfully yours,
Thomas K Ryan
Dear Judge Blakey,

I wanted to take a moment to share something meaningful to me about a man who has been an
important part of my life—Michael Madigan.

I first met Mr. Madigan at St. Adrian's, and I consider him not only a family friend but also someone
who played a crucial role in my life during a particularly difficult time. After my father passed away
when I was young, I struggled deeply with loss, confusion, and pain. In the aftermath, alcohol
became something I leaned on to cope. I didn’t fully understand how much it was taking from me
until Mr. Madigan noticed what was happening.

He saw through my struggles and, without hesitation, reached out. He recognized the path I was
heading down and made the effort to talk to me, offering guidance that I so desperately needed.
What really struck me was how Mr. Madigan was able to relate to me on a personal level. He shared
with me how his own father had battled similar demons, and that connection gave me the strength
to face my own.

His words were not only comforting, they were the push I needed to make a change in my life. He
showed me the importance of confronting my issues head-on and finding healthier ways to deal
with my difficulties. I am deeply grateful for his honesty, his time, and the kindness he showed
when I needed it most. Mike Madigan is and was the Most Honest Truthful Man I have ever met in
my life.

Michael Madigan’s support didn’t just help me through a hard time, it helped me find a way to move
forward. He’s a person who, in his own quiet way made a lasting difference in my life.

For that, I will always be thankful for Mr. Madigan’s honesty and unwavering Truthfulness that made
me the best person I can be and, be a kind, helpful, responsible, honest, productive neighbor,
Cousin, friend.




Sharon Crowley
Jesse Leone
904 S College St. Apt E
Springfield, IL 62704
217-891-0679


April 15, 2025

Hon. Judge Blakey
U.S. District Court - Northern District of IL

Dear Judge Blakey,

In addition to family, friends and colleagues of Mr. Madigan, I hope you will take a moment to hear how a rank
and file state employee for the Speaker’s Office during Mr. Madigan’s leadership felt about the former Speaker,
and the positive impact I believe he had on his staff and folks such as myself, both professionally and personally.

My mother worked for the Speaker’s Office in the 80’s and 90’s, and I have fond memories of her time there and
the people within the office. She was a young single mother raising me, and was also in the Army Reserve. When
she returned home from a tour of active duty during the Gulf War, Speaker Madigan and his staff welcomed my
mother back with a ceremony and the office offered her support during her absence and upon her return.

When I began working for the same office nearly 25 years later, it felt like much the same place but with different
faces. Unfortunately, I entered my employment with a drinking issue that ended up worsening during my tenure.
When I thought I’d have my employment terminated, I was instead offered assistance and support - guided
assistance on getting help for my issue, and words of encouragement from my bosses and peers. I accepted the
help and remained employed.

After a couple of years of being alcohol-free, I took it upon myself to write then-Speaker Madigan a letter
thanking him for the way I felt he ran his office, and for his office quite literally saving my life. My impression
and the general feeling I got from those who knew the Speaker personally was that he was kind, generous and
honest, and while my interactions with Mr. Madigan were few and in passing, that was always the experience I
had. Staff would sometimes muse we would rather have the Speaker call the office than other staff because of
how polite he was. Most importantly, I write this letter today with the same belief of Mr. Madigan that I’ve always
had - he’s a decent and honest man of integrity who lead by example. This letter and my aforementioned letter
would not exist if I believed or had witnessed anything to the contrary, and I truly do not believe the office
environment I experienced would have functioned as it did were that not the case.

Thank you for your time regarding this matter.



With best regards,




Jesse N. Leone
The Honorable John Robert Blakey
U.S. District Court, Northern Illinois District
Dirksen Federal Building
219 Dearborn Street
Chicago, Illinois 60640


Dear Judge Blakey.

t'IY..~SrrJ~ i:- ~9Qeft..~~g!:)_~_i:,_mQ§t 9QffilJl9.JJWJ09wnJ!$J3o.b.~witl:t royfamily.aodfriends in the Chicago area.
I currently reside in Houston. Texas. with my daughter Samantha. I grew up in the West Lawn neighborhood
on the southwest side of Chicago on the same block as Mr. Madigan back in the 80's and 90's. I would see
him and his family quite frequently as his house was on the corner thatled to school and my Uttle league
baseball games. I always received a friendly hello from him or he would ask how the game went when I would
walk home from t he games. At the t ime, I didn't reaUze how much of an impact he would have on my tuture.

Upon turning 17, my junior year of high school at St Rita, I was receiving moderate interest from small
colleges for baseball and football. The only DMsion 1 interest was West Point. I was receiving guidance from
my high school but a Lot of the information was overwhelming. At the time, my parents were going through a
divorce and my dad had zero interaction with me from my freshman year of high school forward. He made it
clear that l was not getting any help from him. If anything, he was hoping I would fail as rm pretty sure he stiU
does to this day. During my Junior year at St Rita, Mr. Madigan was able to assist my mom and I with the
application process. He kept us on track and made sure we were hitting our deadlines. He was also the State
Representative for my area and I needed his recommendation in order to be considered to attend West Point.
With all that was going on in my life, Mr. Madigan took the time to make sure I had a fair shot at being
accepted into West Point. I left for West Point in July of 1993 and graduated in 1997. I spent 5 years in the us
Army upon graduation in the Field Artillery. After completing my service, I became a Financial Advisor and
that has been my profession for the past 23 years. I have an amazing daughter, Samantha, Who is now a
Junior in High School. She is a straight A student in.AP and honors classes as well as a varsity softball player.

Mr. Madigan was instrumental in guiding me to achieve my life tong dreams and without his support in my
high school years things would not be as they are today. He stepped up tor me when others did not and I ask
that you take this into consideration when determining his fate.




Robert M Wagner
Dear Honorable Judge John Blakey,

I am writing this letter on behalf of Mike Madigan. To say that Mr. Madigan saved my life would
NOT be an exaggeration. I would like to give you some background on who I am and where I
came from. I was raised by a single working mother with 4 siblings. My mother did a great job,
but was stretched thin and wasn 't able to spend as much time with everyone as she would
have liked. This caused me to resort to spending a lot of time on the streets unsupervised. Due
to this, my career with alcohol and drugs began at the age of 11 and probably contributed to
me not being a good student. Unfortunately, it got so bad that law enforcement knew me on a
first name basis and I spent many nights in jail cells.

I was truly lost and was looking for opportunities. I considered joining the Hells Angels, but
fortunately, my grandmother didn 't think that was a good idea and set up a meeting with Mr.
Madigan. Mr. Madigan was known to try and help out anyone in the neighborhood that he
could. The day that I met Mr. Madigan is when my life began to change. I remember him asking
me what I was doing in life, I replied "I want to be a landlord, and I want to join the Chicago Fire
Department." However, I had failed a real estate class and appraisal class. Mr. Madigan said to
me "the good news John is you don't need to be a realtor to be a landlord." He suggested that
I sign up for the Chicago Fire Department and gave me some direction on how to apply for a
job at Cook County in the interim. Since the day I signed up with the County, I remained sober,
which is now over 40 years.

Mike Madigan is a father figure that I never had. He was so generous with his time and would
have many talks with me. He once said to me, "John, instead of looking at a crime and saying
I'm not gonna do that because I don 't wanna go to jail," he said "maybe consider saying I'm
not gonna do that because it's wrong." Speaker Madigan taught me about right from wrong,
obeying the law, and always doing the right thing. He changed my thinking and totally turned
my life around. I have spent the rest of my life focusing on being a productive member of
society.

I spent 25 years on the Chicago Fire Department and ended up getting into the real estate
business at Mr. Madigan's encouragement. Over the course of my career, I have owned 63
rental condominiums and 15 large apartment buildings that easily totals over 200 rentals units.

I'm now 10 years retired from the Chicago Fire Department, happily married with a wonderful
wife and 2 beautiful children ages 7 and 9. Without Mike's support and encouragement over
the years I never would be in this position today. He is a an amazing man, who is always
humble, supportive, and willing to lend his time to people in the community. What always
amazed me about Mike is that he would constantly offer his time and support and wouldn't
think of himself. He wouldn't expect something in return from me.

Judge, this is one story I am telling you, but I know about 100 people that have a very similar
story. They all say the same thing, Michael Madigan would always try and help them beyond
words.

Sincerely,



~
John Skudnig
                  THE DIOCESE OF BELLEVILLE


                                              March 3, 2025




Dear Judge,

         Greetings from the Roman Catholic Diocese of Belleville where I serve as Superintendent
of Catholic Schools (23 elementary and 3 high schools with enrollment of 4935]. I met Michael
Madigan and his wife Shirley fifteen years ago when I was president of his high school alma
mater, Saint Ignatius College Prep in Chicago. At that time, we struck up a meaningful
friendship. He received an alumni award from the school and would often attend various events
at the school as a loyal and supportive alumnus. He was not only a generous·benefactor, but he
took time from his busy schedule to attend events at the school when he was able. I especially
recall that he and Shirley attended our Mass of the Holy Spirit several times which opened the
school year at Holy Family Church adjacent to the school in sweltering late summer weather.

        Saint Ignatius offered two trips to Italy during my time that I led and the Madigans were
wonderful pilgrims. Mike has a keen interest in history and was often a source of perspective as
we visited various places. He and Sh irley were unfailingly gracious and kind, even with a few
trying characters who were also on the trip. Travelling throughout Italy gave us lots of time to
talk about faith, family, friends, and history. Clearly, Mike was 'off the clock' on these trips and
people respected his time to be with family and make new friends. He always gives someone his
complete attention and is a good listener with a gentle sense of humor and irony. As husband,
father, and grandfather, I'm sure he would cite as what brings him the greatest satisfaction,
despite his years and accomplishments in public service.

      While l was at Saint Ignatius, we had a young man who was eager to get into the Naval
Academy needing endorsements from his US Congressional Representative, which he received
from Representative Gutierrez. I contacted Speaker Madigan and asked if might be able to
endorse the young man, Mack Spohnholtz, and the Speaker stepped up. Mack was admitted
and met his future bride at t he Naval Academy and were married in 2023; the Speaker's




                        De artment of Education • Office of Catholic Schools
assistance was another kind gesture that helped a fine young man into the Naval Academy and
eventually led to his marriage and future. A seemingly small administrative letter opened doors
to.an education and family life.                                                        -,

     • When the Invest in Kids Illinois legislation was introduced, School Choice advocates were
very eager to see this project approved. Cardinal Cupich contacted me and asked if I would call
Speaker Madigan and encourage him to support the legislation and I did so. M ike and I had
never discussed politics, but I was supportive of this bill and was pleased to encourage the
Speaker to consider endorsing it, even though his party is typically against School Choice. His
support helped pave the way for 9600 low-income children to access better schools throughout
the state for five years. I am certain that this bill would never have been passed without the
support, vision, and courage of Speaker Madigan.

        Many families are trapped in underperforming ~chools simply because they cannot
afford the tuition of private and parochial schools. I thought Speaker Madigan showed
exemplary leadership and his vision on this issue made a massive difference in the lives of those
who accessed the program, by reaching across the political aisle and lifting up vu lnerable and
forgotten children trapped in underperforming schools. Sadly, this program was not renewed in
2023.

      In all of these situations that I have cited, [donating to his alma mater, assisting a young
man who wanted to serve our nation in the Naval Academy, and supporting thousands of
disadvantaged students in getting a better education] he did so selflessly from the generosity of
his heart. His only desire was that these efforts would benefit the lives of recipients with
absolutely no expectations.

        I can only imagine the many decisions Mike Madigan has made which changed people's
lives for the better. I ask that you take into consideration the many things accomplished by M ike
that strengthened the common good and made a huge difference in the quality of life for so
many people.

Sincerely,




Fr. Michael Caruso, st
Director of Education/Superintendent of Schools
